Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 1 of 76




                     EXHIBIT D
          Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 2 of 76




Catalog    Inventory    Orders     Advertising    St ores   Report s    Performance


Help / Account set t ings / Reference / Amazon Services Business Solutions Agreement




Amazon Services Business Solut ions
Agreement
The version of this Agreement in English is t he definit ive legal version. A t ranslation int o Chinese is
available for your ease of ref erence.


General Terms


Welcome to Amazon Services Business Solutions, a suit e of opt ional services for sellers including:
Selling on Amazon, Fulfillment by Amazon, Amazon Advert ising, Transact ion Processing Services,
and the Selling Part ner API.


THIS AMAZON SERVICES BUSINESS SOLUTIONS AGREEMENT (THE "AGREEMENT") CONTAINS THE
TERMS AND CONDITIONS THAT GOVERN YOUR ACCESS TO AND USE OF THE SERVICES AND IS AN
AGREEMENT BETWEEN YOU OR THE BUSINESS YOU REPRESENT AND AMAZON. BY REGISTERING
FOR OR USING THE SERVICES, YOU (ON BEHALF OF YOURSELF OR THE BUSINESS YOU
REPRESENT) AGREE TO BE BOUND BY THE TERMS OF THIS AGREEMENT, INCLUDING THE SERVICE
TERMS AND PROGRAM POLICIES THAT APPLY FOR EACH COUNTRY FOR WHICH YOU REGISTER OR
ELECT TO USE A SERVICE (IN EACH CASE, THE "ELECTED COUNTRY").


As used in t his Agreement , "we," "us," and "Amazon" means t he applicable Amazon Cont ract ing
Party and any of its applicable Affiliat es, and "you" means t he applicant (if regist ering for or using a
Service as an individual), or t he business employing t he applicant (if regist ering f or or using a
Service as a business) and any of it s Aff iliat es. Capit alized t erms have the meanings given t o t hem
in this Agreement . If t here is any conflict bet ween t hese General Terms and t he applicable Service
Terms and Program Policies, t he General Terms will govern and the applicable Service Terms will
prevail over the Program Policies.


1. Enrollment.
To begin the enrollment process, you must complet e t he regist rat ion process for one or more of t he
Services. Use of t he Services is limit ed t o part ies t hat can lawfully ent er int o and form cont ract s
under applicable Law (f or example, t he Elected Count ry may not allow minors to use t he Services).
As part of the applicat ion, you must provide us wit h your (or your business') legal name, address,
phone number and e-mail address, as well as any ot her information we may request . Any personal
dat a you provide t o us will be handled in accordance with Amazon’s Privacy Not ice.


2. Service Fee Payments; Receipt of Sales Proceeds.
Fee details are described in t he applicable Service Terms and Program Policies. You are responsible
for all of your expenses in connect ion wit h t his Agreement . To use a Service, you must provide us
with valid credit card informat ion from a credit card or credit cards acceptable by Amazon ("Your
Credit Card") as well as valid bank account inf ormation for a bank account or bank accounts
acceptable by Amazon (conditions f or acceptance may be modif ied or discont inued by us at any
time wit hout not ice) ("Your Bank Account"). You will use only a name you are aut horized to use in
connect ion with a Service and will updat e all of t he inf ormat ion you provide t o us in connect ion
with the Services as necessary t o ensure t hat it at all t imes remains accurat e, complet e, and valid.
You aut horize us (and will provide us document at ion evidencing your authorization upon our
request) to verify your inf ormat ion (including any updat ed information), t o obtain credit report s
about   you f rom time to t ime, t o obt ain credit aut horizat ions from t he issuer of Your Credit Card,
  FEEDBACK
            Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 3 of 76


and to charge Your Credit Card or debit Your Bank Account f or any sums payable by you to us (in
reimbursement or otherwise). All payment s t o you will be remit t ed to Your Bank Account t hrough a
banking net work or by ot her means specif ied by us.


If we determine that your actions or performance may result in returns, chargebacks, claims,
disputes, violations of our terms or policies, or other risks to Amazon or third parties, then we
may in our sole discretion withhold any payments to you for as long as we determine any
related risks to Amazon or third parties persist. For any amounts that we determine you owe us,
we may (a) charge Your Credit Card or any other payment instrument you provide to us; (b)
offset any amounts that are payable by you to us (in reimbursement or otherwise) against any
payments we may make to you or amounts we may owe you; (c) invoice you for amounts due to
us, in which case you will pay the invoiced amounts upon receipt; (d) reverse any credits to Your
Bank Account; or (e) collect payment or reimbursement from you by any other lawful means. If
we determine that your account has been used to engage in deceptive, fraudulent, or illegal
activity, or to repeatedly violate our Program Policies, then we may in our sole discretion
permanently withhold any payments to you. Except as provided ot herwise, all amount s
cont emplat ed in t his Agreement will be expressed and displayed in t he Local Currency, and all
payments cont emplat ed by t his Agreement will be made in the Local Currency.


In addition, we may require t hat you pay ot her amount s t o secure t he perf ormance of your
obligations under t his Agreement or t o mitigate t he risk of ret urns, chargebacks, claims, disputes,
violations of our t erms or policies, or ot her risks to Amazon or t hird part ies. These amount s may be
refundable or nonref undable in t he manner we det ermine, and f ailure t o comply with t erms of t his
Agreement , including any applicable Program Policies, may result in t heir forf eit ure.


As a security measure, we may, but are not required t o, impose t ransaction limit s on some or all
customers and sellers relat ing t o t he value of any t ransact ion or disbursement, t he cumulat ive
value of all transact ions or disbursement s during a period of t ime, or t he number of t ransact ions
per day or ot her period of t ime. We will not be liable t o you: (i) if we do not proceed wit h a
transact ion or disbursement t hat would exceed any limit est ablished by us for a security reason, or
(ii) if we permit a cust omer t o wit hdraw from a t ransact ion because an Amazon Sit e or Service is
unavailable following t he commencement of a t ransact ion.


3. Term and Termination.
The term of t his Agreement will st art on t he dat e of your complet ed regist rat ion for use of a
Service and cont inue unt il t erminat ed by us or you as provided below. You may at any t ime
terminat e your use of any Service immediat ely on notice t o us via Seller Cent ral, email, t he Cont act
Us form, or similar means. We may t erminat e your use of any Services or t erminat e t his Agreement
for convenience wit h 30 days’ advance not ice. We may suspend or t erminat e your use of any
Services immediat ely if we det ermine t hat (a) you have mat erially breached t he Agreement and
failed to cure within 7 days of a cure not ice unless your breach exposes us t o liabilit y t oward a t hird
part y, in which case we are ent itled to reduce, or waive, t he aforement ioned cure period at our
reasonable discretion; (b) your account has been, or our cont rols ident ify t hat it may be used for
decept ive or fraudulent , or illegal activit y; or (c) your use of t he Services has harmed, or our
cont rols identify t hat it might harm, ot her sellers, cust omers, or Amazon’s legit imat e int erest s. We
will promptly not if y you of any such t erminat ion or suspension via email or similar means including
Seller Central, indicat ing t he reason and any opt ions t o appeal, except where we have reason t o
believe that providing t his inf ormat ion will hinder t he invest igat ion or prevent ion of decept ive,
fraudulent, or illegal act ivit y, or will enable you t o circumvent our safeguards. On t erminat ion of
this Agreement , all relat ed right s and obligat ions under this Agreement immediat ely t erminate,
except t hat (d) you will remain responsible f or perf orming all of your obligat ions in connect ion wit h
transact ions entered int o before t ermination and for any liabilit ies t hat accrued before or as a result
of t ermination, and (e) Sect ions 2, 3, 4, 5, 6, 7, 8, 9, 11, 14, 15, and 18 of t hese General Terms
survive.


4. License.
 FEEDBACK
          Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 4 of 76


You grant us a royalt y-free, non-exclusive, worldwide right and license for the durat ion of your
original and derivat ive int ellect ual propert y right s t o use any and all of Your Mat erials f or t he
Services or ot her Amazon product or service, and t o sublicense t he foregoing right s t o our Aff iliat es
and operators of Amazon Associat ed Propert ies; provided, however, t hat we will not alt er any of
Your Trademarks from the form provided by you (except t o re-size t rademarks to t he extent
necessary for presentation, so long as t he relat ive proport ions of such t rademarks remain t he same)
and will comply wit h your removal request s as t o specif ic uses of Your Mat erials (provided you are
unable t o do so using st andard funct ionalit y made available t o you via the applicable Amazon Sit e
or Service); provided furt her, however, t hat not hing in t his Agreement will prevent or impair our
right t o use Your Mat erials wit hout your consent t o t he ext ent t hat such use is allowable wit hout a
license from you or your Aff iliat es under applicable Law (e.g., f air use under Unit ed St ates copyright
law, referent ial use under t rademark law, or valid license f rom a t hird part y).


5. Representations.
Each party represent s and warrant s that : (a) if it is a business, it is duly organized, validly exist ing
and in good standing under t he Laws of t he country in which t he business is regist ered and t hat you
are regist ering for t he Service(s) wit hin such count ry; (b) it has all requisite right, power, and
aut hority t o ent er int o t his Agreement , perf orm its obligat ions, and grant t he right s, licenses, and
aut horizat ions in t his Agreement ; (c) any inf ormat ion provided or made available by one part y t o
the other party or it s Affiliates is at all times accurate and complet e; (d) it is not subject t o sanct ions
or ot herwise designat ed on any list of prohibit ed or rest rict ed part ies or owned or cont rolled by
such a party, including but not limit ed t o t he list s maint ained by t he Unit ed Nat ions Securit y
Council, t he US Government (e.g., t he US Depart ment of Treasury’s Specially Designat ed Nationals
list and Foreign Sanct ions Evaders list and t he US Depart ment of Commerce’s Ent it y List ), t he
European Union or it s member st at es, or ot her applicable government aut horit y; and (e) it will
comply with all applicable Laws in performance of it s obligations and exercise of it s rights under
this Agreement .


6. Indemnification.
6.1 Your indemnification obligations. You will defend, indemnify, and hold harmless Amazon, and
our officers, directors, employees, and agent s, against any t hird-part y claim, loss, damage,
sett lement, cost , expense, or ot her liabilit y (including, without limit at ion, at t orneys’ f ees) (each, a
“Claim”) arising from or relat ed t o (a) your non-compliance wit h applicable Laws; (b) Your Products,
including t he of fer, sale, fulfillment (except t o t he extent at t ribut able t o t he FBA service), ref und,
cancellation, ret urn, or adjust ment s t hereof, Your Mat erials, any act ual or alleged inf ringement of
any Int ellectual Propert y Right s by any of t he f oregoing, and any personal injury, deat h (t o t he
extent the injury or deat h is not caused by Amazon), or propert y damage relat ed t heret o; (c) Your
Taxes and dut ies or the collect ion, payment , or f ailure t o collect or pay Your Taxes or dut ies, or t he
failure to meet t ax regist rat ion obligations or dut ies; or (d) act ual or alleged breach of any
represent at ions you have made.


6.2 Amazon’s indemnification obligations. Amazon will defend, indemnify, and hold harmless you
and your officers, direct ors, employees, and agent s against any t hird-party Claim arising f rom or
related to: (a) Amazon’s non-compliance with applicable Laws; or (b) allegat ions t hat t he operat ion
of an Amazon st ore inf ringes or misappropriat es t hat t hird part y’s intellect ual propert y right s.


6.3 Process. If any indemnified Claim might adversely aff ect us, we may, t o t he ext ent permit t ed by
applicable Law, volunt arily int ervene in t he proceedings at our expense. No part y may consent to
the ent ry of any judgment or ent er int o any set tlement of an indemnif ied Claim wit hout t he prior
written consent of the ot her part y, which may not be unreasonably wit hheld; except t hat a part y
may set t le any claim t hat is exclusively direct ed at and exclusively af fect s t hat part y.


7. Disclaimer & General Release.
a. THE AMAZON SITES AND THE SERVICES, INCLUDING ALL CONTENT, SOFTWARE, FUNCTIONS,
MATERIALS, AND INFORMATION MADE AVAILABLE ON OR PROVIDED IN CONNECTION WITH THE
SERVICES, ARE PROVIDED "AS-IS." AS A USER OF THE SERVICES, YOU USE THE AMAZON SITES,
THE
 FEEDSERVICES,
     BACK      AND SELLER CENTRAL AT YOUR OWN RISK. EXCEPT THOSE SET FORTH IN SECTION
             Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 5 of 76


 5 ABOVE, TO THE FULLEST EXTENT PERMISSIBLE BY LAW, WE AND OUR AFFILIATES DISCLAIM: (i)
 ANY REPRESENTATIONS OR WARRANTIES REGARDING THIS AGREEMENT, THE SERVICES OR THE
 TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT, INCLUDING ANY IMPLIED WARRANTIES OF
 MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, OR NON-INFRINGEMENT; (ii) IMPLIED
 WARRANTIES ARISING OUT OF COURSE OF DEALING, COURSE OF PERFORMANCE, OR USAGE OF
 TRADE; AND (iii) ANY OBLIGATION, LIABILITY, RIGHT, CLAIM, OR REMEDY IN TORT, WHETHER OR
 NOT ARISING FROM OUR NEGLIGENCE. WE DO NOT WARRANT THAT THE FUNCTIONS CONTAINED
 IN THE AMAZON SITES AND THE SERVICES WILL MEET YOUR REQUIREMENTS OR BE AVAILABLE,
 TIMELY, SECURE, UNINTERRUPTED, OR ERROR FREE, AND WE WILL NOT BE LIABLE FOR ANY
 SERVICE INTERRUPTIONS, INCLUDING BUT NOT LIMITED TO SYSTEM FAILURES OR OTHER
 INTERRUPTIONS THAT MAY AFFECT THE RECEIPT, PROCESSING, ACCEPTANCE, COMPLETION, OR
 SETTLEMENT OF ANY TRANSACTIONS.


 b. BECAUSE AMAZON IS NOT INVOLVED IN TRANSACTIONS BETWEEN CUSTOMERS AND SELLERS
 OR OTHER PARTICIPANT DEALINGS, IF A DISPUTE ARISES BETWEEN ONE OR MORE PARTICIPANTS,
 EACH PARTICIPANT RELEASES AMAZON (AND ITS AGENTS AND EMPLOYEES) FROM CLAIMS,
 DEMANDS, AND DAMAGES (ACTUAL AND CONSEQUENTIAL) OF EVERY KIND AND NATURE,
 KNOWN AND UNKNOWN, SUSPECTED AND UNSUSPECTED, DISCLOSED AND UNDISCLOSED,
 ARISING OUT OF OR IN ANY WAY CONNECTED WITH SUCH DISPUTES.


 8. Limitation of Liability.
 We WILL NOT BE LIABLE (WHETHER IN CONTRACT, WARRANTY, TORT (INCLUDING NEGLIGENCE,
 PRODUCT LIABILITY, OR OTHER THEORY), OR OTHERWISE) TO YOU OR ANY OTHER PERSON FOR
 COST OF COVER, RECOVERY, OR RECOUPMENT OF ANY INVESTMENT MADE BY YOU OR YOUR
 AFFILIATES IN CONNECTION WITH THIS AGREEMENT, OR FOR ANY LOSS OF PROFIT, REVENUE,
 BUSINESS, OR DATA OR PUNITIVE OR CONSEQUENTIAL DAMAGES ARISING OUT OF OR RELATING
 TO THIS AGREEMENT, EVEN IF AMAZON HAS BEEN ADVISED OF THE POSSIBILITY OF THOSE
 COSTS OR DAMAGES. FURTHER, OUR AGGREGATE LIABILITY ARISING OUT OF OR IN CONNECTION
 WITH THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED WILL NOT EXCEED AT ANY TIME
 THE TOTAL AMOUNTS DURING THE PRIOR SIX MONTH PERIOD PAID BY YOU TO AMAZON IN
 CONNECTION WITH THE PARTICULAR SERVICE GIVING RISE TO THE CLAIM.


 9. Insurance.
 If t he gross proceeds from Your Transact ions exceed t he applicable Insurance Threshold during
 each month over any period of three (3) consecutive mont hs, or ot herwise if request ed by us, t hen
 within t hirt y (30) days t hereaft er, you will maint ain at your expense t hroughout t he remainder of
 the Term for each applicable Elect ed Count ry commercial general, umbrella or excess liabilit y
 insurance with the Insurance Limit s per occurrence and in aggregat e covering liabilit ies caused by
 or occurring in conjunct ion wit h t he operat ion of your business, including product s,
 products/ complet ed operat ions and bodily injury, wit h policy(ies) naming Amazon and it s assignees
 as addit ional insureds. At our request, you will provide t o us certificat es of insurance for the
 coverage to t he following address: c/ o Amazon, P.O. Box 81226, Seat t le, WA 98108-1226,
 Attention: Risk Management .


10. Tax Matters.
 As between the part ies, you will be responsible f or t he collect ion, report ing, and payment of any
 and all of Your Taxes, except t o t he ext ent t hat (i) Amazon automat ically calculates, collects, or
 remits t axes on your behalf according t o applicable law; or (ii) Amazon expressly agrees t o receive
 taxes or other transact ion-based charges on your behalf in connect ion wit h tax calculat ion services
 made available by Amazon and used by you. You agree t o and will comply with t he Tax Policies. All
 fees and payment s payable by you t o Amazon under t his Agreement or the applicable Service
 Terms are exclusive of any applicable t axes, deduct ions or wit hholding (including but not limit ed t o
 cross-border wit hholding t axes), and you will be responsible for paying Amazon any of Your Taxes
 imposed on such fees and any deduct ion or wit hholding required on any payment .


11. Confidentiality and Personal Data.
  FEEDBACK
             Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 6 of 76


 During t he course of your use of t he Services, you may receive Confident ial Informat ion. You agree
 that for t he t erm of t he Agreement and 5 years aft er t erminat ion: (a) all Conf idential Inf ormat ion
 will remain Amazon's exclusive property; (b) you will use Confident ial Informat ion only as is
 reasonably necessary for your part icipat ion in t he Services; (c) you will not ot herwise disclose
 Confidential Informat ion t o any ot her Person except as required t o comply wit h t he Law; (d) you
 will take all reasonable measures to prot ect t he Confidential Informat ion against any use or
 disclosure t hat is not expressly permit t ed in t his Agreement ; and (e) you will ret ain Conf idential
 Inf ormat ion only f or so long as it s use is necessary f or part icipat ion in t he Services or t o fulfill your
 st at ut ory obligations (e.g. t ax) and in all cases will delet e such inf ormation upon terminat ion or as
 soon as no longer required f or t he fulfillment of st at ut ory obligat ions. The f oregoing sent ence does
 not restrict your right t o share Confident ial Inf ormat ion wit h a government al entit y that has
 jurisdiction over you, provided t hat you limit t he disclosure t o t he minimum necessary and explicitly
 indicate t he confident ial nat ure of t he shared informat ion t o t he government al ent it y. You may not
 issue any press release or make any public st at ement relat ed to t he Services, or use our name,
 trademarks, or logo, in any way (including in promot ional material) wit hout our advance writ t en
 permission, or misrepresent or embellish t he relat ionship bet ween us in any way. You may only use
 the "Available at Amazon" badge as defined in and according t o t he Trademark Usage Guidelines
 available in Seller Cent ral; you may not use our name, t rademarks, or logos in any way (including in
 promot ional material) not covered by t he Trademark Usage Guidelines without our advance writt en
 permission.


 Generally, you may not use cust omer personal dat a in any way inconsist ent wit h applicable Law.
 You must keep cust omer personal dat a conf ident ial at all times (t he above 5 years’ t erm limit does
 not apply to cust omer personal dat a).


12. Force Majeure.
 We will not be liable for any delay or failure to perform any of our obligat ions under t his
 Agreement by reasons, events or ot her mat t ers beyond our reasonable cont rol.


13. Relationship of Parties.
 Subject t o the Transaction Processing Service Terms (if t he Elect ed Count ry f or a Service is t he
 United St ates), you and we are independent cont ractors, and not hing in t his Agreement will creat e
 any partnership, joint vent ure, agency, franchise, sales representat ive, or employment relat ionship
 bet ween us. You will have no aut hority t o make or accept any off ers or representat ions on our
 behalf. This Agreement will not creat e an exclusive relat ionship bet ween you and us. Not hing
 expressed or ment ioned in or implied f rom t his Agreement is intended or will be const rued t o give
 to any person other t han t he part ies t o t his Agreement any legal or equit able right , remedy, or
 claim under or in respect t o t his Agreement . This Agreement and all of t he represent ations,
 warranties, covenant s, condit ions, and provisions in t his Agreement are int ended t o be and are f or
 the sole and exclusive benefit of Amazon, you, and cust omers. As bet ween you and us, you will be
 solely responsible f or all obligat ions associat ed wit h the use of any t hird part y service or feat ure
 that you permit us t o use on your behalf , including compliance wit h any applicable t erms of use.
 You will not make any stat ement , whet her on your sit e or ot herwise, t hat would cont radict
 anyt hing in this sect ion.


14. Suggestions and Other Information.
 If you or any of your Af filiat es elect t o provide or make available suggest ions, comment s, ideas,
 improvement s, or ot her feedback or mat erials t o us in connection wit h or relat ed t o any Amazon
 Site or Service (including any relat ed Technology), we will be free t o use, disclose, reproduce,
 modify, license, transfer and ot herwise dist ribut e, and exploit any of t he f oregoing informat ion or
 materials in any manner. In order to cooperat e wit h government al request s, t o prot ect our syst ems
 and customers, or t o ensure the integrity and operation of our business and syst ems, we may access
 and disclose any informat ion we consider necessary or appropriat e, including but not limit ed t o
 user contact det ails, IP addresses and t raff ic inf ormat ion, usage history, and post ed cont ent . If we
 make suggest ions on using t he Services, you are responsible for any act ions you t ake based on our
 suggest ions.
  FEEDBACK
             Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 7 of 76


15. Modification.
 15.1. We will provide at least 15 days’ advance notice in accordance with Section 18 for changes t o
 the Agreement.


 15.2 However, we may change or modify t he Agreement at any t ime with immediat e ef fect (a) f or
 legal, regulat ory, fraud and abuse prevent ion, or securit y reasons; (b) t o change exist ing feat ures or
 add addit ional feat ures t o t he Services (where t his does not mat erially adversely aff ect your use of
 the Services); or (c) t o rest rict product s or act ivities t hat we deem unsafe, inappropriat e, or
 off ensive. We will not ify you about any change or modif icat ion in accordance wit h Sect ion 18.


 15.3 Your cont inued use of the Services af t er t he eff ect ive dat e of any change t o t his Agreement in
 accordance with t his Section 15 will const it ut e your acceptance of t hat change. If any change is
 unaccept able t o you, you agree not t o use t he Services and t o end t he Agreement as described in
 Sect ion 3.


16. Password Security.
 Any password we provide t o you may be used only during t he Term t o access Seller Cent ral (or
 other tools we provide, as applicable) to use t he Services, elect ronically accept Your Transact ions,
 and review your complet ed t ransact ions. You are solely responsible for maint aining the security of
 your password. You may not disclose your password to any t hird part y (ot her t han t hird part ies
 aut horized by you t o use your account in accordance wit h t his Agreement ) and are solely
 responsible for any use of or act ion t aken under your password. If your password is compromised,
 you must immediat ely change your password.


17. Export.
 You will not direct ly or indirect ly export , re-export , t ransmit , or cause t o be export ed, re-exported
 or transmitted, any commodit ies, sof t ware or t echnology t o any country, individual, corporat ion,
 organization, or ent it y t o which such export , re-export, or t ransmission is rest ricted or prohibit ed,
 including any country, individual, corporat ion, organizat ion, or ent it y under sanct ions or embargoes
 administered by t he Unit ed Nat ions, US Depart ment s of St at e, Treasury or Commerce, the
 European Union, or any ot her applicable government authorit y.


18. Miscellaneous.
 The Governing Laws will govern t his Agreement , without ref erence t o rules governing choice of
 laws or the Convent ion on Cont racts for t he Int ernat ional Sale of Goods. If t he Elect ed Count ry is
 the United Stat es, Canada, or Mexico, Amazon and you both consent that any dispute with
 Amazon or its Affiliates or claim relating in any way to this Agreement or your use of the
 Services will be resolved by binding arbitration as described in this paragraph, rather than in
 court, except that (i) you may assert claims in a small claims court t hat is a Governing Court if your
 claims qualif y and (ii) you or we may bring suit in t he Governing Court s, submit ting t o t he
 jurisdict ion of t he Governing Court s and waiving our respect ive right s t o any ot her jurisdict ion, t o
 enjoin inf ringement or other misuse of int ellect ual propert y right s. There is no judge or jury in
 arbitration, and court review of an arbitration award is limited. However, an arbitrator can
 award on an individual basis the same damages and relief as a court (including injunctive and
 declaratory relief or statutory damages), and must follow the terms of this Agreement as a
 court would. Before you may begin an arbitrat ion proceeding, you must send a let t er requesting
 arbitrat ion and describing your claim t o our regist ered agent , CSC Services of Nevada, Inc., 112 N
 Curry Street , Carson Cit y, NV 89703. The arbit rat ion will be conduct ed by t he American Arbit ration
 Association (AAA) under it s commercial rules. Payment of all f iling, administ rat ion and arbitrator
 fees will be governed by t he AAA's rules. We will reimburse t hose fees for claims tot aling less t han
 $10,000 unless the arbit rat or det ermines t he claims are frivolous. The expedit ed procedures of t he
 AAA’s rules will apply only in cases seeking exclusively monet ary relief under $50,000, and in such
 cases t he hearing will be scheduled t o t ake place wit hin 90 days of the arbit rator’s appoint ment .
 Likewise, Amazon will not seek at t orneys' fees and costs from you in arbit ration unless the
 arbitrat or determines t he claims are frivolous. You may choose t o have t he arbit ration conduct ed
 by t elephone, based on writ t en submissions, or in person at a mutually agreed locat ion. Amazon
  FEEDBACK
            Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 8 of 76


and you each agree that any dispute resolution proceedings will be conducted only on an
individual basis and not in a class, consolidated or representative action. If f or any reason a claim
proceeds in court rat her t han in arbit rat ion Amazon and you each waive any right to a jury trial.


You may not assign this Agreement , by operat ion of law or ot herwise, wit hout our prior writ t en
consent . Any at tempt t o assign or ot herwise t ransfer in violat ion of t his sect ion is void; provided,
however, t hat upon not ice t o Amazon, you may assign or transf er t his Agreement , in whole or in
part , to any of your Aff iliat es as long as you remain liable for your obligat ions t hat arose prior to
the effect ive date of t he assignment or t ransf er under t his Agreement . You agree t hat we may
assign or transfer our right s and obligat ions under this Agreement : (a) in connect ion wit h a merger,
consolidat ion, acquisit ion or sale of all or subst ant ially all of our asset s or similar t ransact ion; or (b)
to any Affiliat e or as part of a corporat e reorganizat ion; and ef fect ive upon such assignment , t he
assignee is deemed subst it ut ed f or Amazon as t he part y t o t his Agreement . Subject t o t hat
restriction, t his Agreement will be binding on, inure t o, and be enf orceable against t he parties and
their respect ive successors and assigns. We may perf orm any of our obligations or exercise any of
our right s under t his Agreement t hrough one or more of our Aff iliat es. Amazon ret ains t he right to
immediately halt any of Your Transact ions, prevent or rest rict access t o t he Services or t ake any
other act ion to rest rict access t o or availabilit y of any inaccurat e list ing, any inappropriat ely
categorized items, any unlawf ul it ems, or any it ems ot herwise prohibit ed by applicable Program
Policies. Because Amazon is not your agent (except f or t he limited purpose set out in t he
Transact ion Processing Service Terms (if t he Elected Count ry for a Service is t he Unit ed Stat es)), or
the cust omer’s agent for any purpose, Amazon will not act as eit her party's agent in connect ion
with resolving any disput es bet ween participant s related to or arising out of any t ransact ion.


Amazon will provide not ice to you under t his Agreement by posting changes t o Seller Cent ral or t o
the applicable Amazon Services sit e t o which the changes relat e (such as t he Developer Sit e
accessible through your account ), by sending you an email not ificat ion, or by similar means. You
must send all not ices and ot her communications relat ing t o Amazon t o our Selling Part ner Support
team via Seller Cent ral, email, t he Cont act Us f orm, or similar means. We may also communicat e
with you elect ronically and in other media, and you consent to such communicat ions. You may
change your e-mail addresses and cert ain ot her informat ion in Seller Cent ral, as applicable. You will
ensure that all of your inf ormat ion is up t o dat e and accurat e at all t imes.


If any provision of this Agreement is deemed unlawful, void, or f or any reason unenforceable, t hen
that provision will be deemed severable f rom t hese t erms and conditions and will not af fect t he
validit y and enforceabilit y of any remaining provisions. If t he Elect ed Country is Canada, t hen it is
the express wish of t he part ies that t his Agreement and t he applicable Service Terms and Program
Policies have been draf ted in English. (The following is a French t ranslat ion of t he preceding
sent ence: Si le pays de service est le Canada, les part ies conviennent que la présent e aut orisat ion et
tous les t ermes et condit ions applicables s'y rat t achant soient rédigés en anglais.) We may make
available translations to t his Agreement and t he applicable Service Terms and Program Policies, but
the English version will control. This Agreement represent s the ent ire agreement bet ween the
part ies wit h respect t o the Services and relat ed subject mat t er and supersedes any previous or
cont emporaneous oral or writ t en agreement s and underst andings.


Definitions


As used in t his Agreement , t he following t erms have t he following meanings:


"Affiliate" means, with respect to any entity, any other entity t hat direct ly or indirect ly controls, is
cont rolled by, or is under common cont rol wit h t hat entity.


"Amazon Associated Properties" means any websit e or other online point of presence, mobile
application, service or feat ure, ot her t han an Amazon Sit e, t hrough which any Amazon Sit e, or
products or services available on any of t hem, are syndicat ed, off ered, merchandised, advert ised, or
described.

 FEEDBACK
            Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 9 of 76


"Amazon Contracting Party" means t he part y outlined below.


• If t he Elect ed Count ry is Canada:

                  Service                              Amazon Contracting Party
 Selling on Amazon                            Amazon Services Int ernat ional, Inc.
 Selling on Amazon (if your account is        Amazon Services Cont ract s, Inc.
 enabled to list Optional Coverage
 Plans)
 Fulfillment by Amazon                        Amazon.com.ca, Inc.
 Amazon Advertising                           Amazon Services Int ernat ional, Inc.




• If t he Elect ed Count ry is Mexico:

                  Service                              Amazon Contracting Party
 Selling on Amazon                            Servicios Comerciales Amazon México
                                              S. de R.L. de C.V.
 Fulfillment by Amazon                        Servicios Comerciales Amazon México
                                              S. de R.L. de C.V.
 Amazon Advertising                           Servicios Comerciales Amazon México
                                              S. de R.L. de C.V.




• If t he Elect ed Count ry is t he Unit ed St ates:

                  Service                              Amazon Contracting Party
 Selling on Amazon                            Amazon.com Services LLC
 Selling on Amazon (if your account is        Amazon Services Cont ract s, Inc.
 enabled to list Optional Coverage
 Plans)
 Fulfillment by Amazon                        Amazon.com Services LLC
 Amazon Advertising                           Amazon.com Services LLC
 Transact ion Processing Services             Amazon Payment s, Inc., Amazon
                                              Capit al Services, Inc., or Amazon.com
                                              Services LLC, according t o t he
                                              Transact ion Processing Services
                                              Terms

If you register for or use the Selling Partner API, the Amazon Cont ract ing Part y is t he Cont ract ing
Party t hat provides t he applicable Service you use in connect ion wit h t he Selling Part ner API.


"Amazon Site" means, as applicable, the CA Amazon Site, the MX Amazon Sit e, or t he US Amazon
Site.


"CA Amazon Site" means the websit e, the primary home page of which is ident ified by the url
www.amazon.ca, and any successor or replacement of such website.


"Confidential Information" means inf ormat ion relat ing t o us, t o t he Services, or Amazon
customers t hat is not known t o the general public including, but not limit ed t o, any information
ident if ying or unique t o specif ic cust omers; report s, insight s, and ot her informat ion about t he
Services; dat a derived from the Services except for data (ot her than cust omer personal dat a) arising
from the sale of your product s comprising of product s sold, prices, sales, volumes and t ime of t he
transact ion; and technical or operat ional specificat ions relating to t he Services. For the purposes of
this Agreement , cust omer personal dat a constit ut es Conf ident ial Informat ion at all t imes.
 FEEDBACK
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 10 of 76


"Content" means copyright able works under applicable Law and content prot ect ed by dat abase
right s under applicable Law.


"Excluded Products" means t he it ems described on t he applicable Rest ricted Product s pages in
Seller Central, any other applicable Program Policy, or any ot her informat ion made available t o you
by Amazon.


"Governing Courts" means t he applicable one of t he following:


• the state or Federal court in King Count y, Washingt on (if t he Elect ed Count ry is Canada, Mexico,
  or the United St ates),
"Governing Laws" means the applicable one of t he f ollowing:


• the laws of t he St at e of Washingt on, United Stat es t oget her wit h t he Federal Arbit rat ion Act and
  other applicable f ederal law (if the Elect ed Count ry is Canada, Mexico, or t he Unit ed St at es),
"Insurance Limits" means t he applicable one of t he following:


• One Million Canadian Dollars ($1,000,000) (if t he Elect ed Count ry is Canada),
• Ten Million Mexican Pesos ($10,000,000) (if t he Elected Count ry is Mexico),
• One Million U.S. Dollars ($1,000,000) (if t he Elect ed Count ry is t he Unit ed St at es).
"Insurance Threshold" means t he applicable one of the following:


• Ten Thousand Canadian Dollars ($10,000) (if t he Elect ed Count ry is Canada),
• One Hundred Thousand Mexican Pesos ($100,000) (if t he Elect ed Count ry is Mexico),
• Ten Thousand U.S. Dollars ($10,000) (if t he Elect ed Country is t he Unit ed St at es).
"Intellectual Property Right" means any pat ent , copyright, Trademark, domain name, moral right ,
trade secret right , or any ot her int ellect ual propert y right arising under any Laws and all ancillary
and related rights, including all right s of regist rat ion and renewal and causes of act ion for violat ion,
misappropriation or inf ringement of any of t he foregoing.


"Law" means any law, ordinance, rule, regulat ion, order, license, permit , judgment , decision, or
other requirement , now or in t he fut ure in eff ect , of any government al authority (e.g., on a federal,
st at e, or provincial level, as applicable) of compet ent jurisdict ion.


"Local Currency" means the applicable one of t he f ollowing:


• U.S. Dollars (if t he Elect ed Count ry is t he Unit ed St at es),
• Canadian Dollars (if t he Elect ed Count ry is Canada),
• Mexican Pesos (if t he Elect ed Count ry is Mexico),
"MX Amazon Site" means the websit e, the primary home page of which is ident ified by t he url
www.amazon.com.mx, and any successor or replacement of such websit e.


"Optional Coverage Plans" means warranties, ext ended service plans and relat ed off erings, in each
case as determined by us, t hat you of fer.


"Order Information" means, with respect to any of Your Product s ordered t hrough an Amazon Sit e,
the order informat ion and shipping inf ormation t hat we provide or make available to you.


"Person" means any individual, corporation, part nership, limit ed liabilit y company, governmental
aut hority, associat ion, joint vent ure, division, or ot her cognizable ent it y, whet her or not having
distinct legal exist ence.


"Program Policies" means all policies and program t erms provided on t he Program Policies page.


 FEEDBACK
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 11 of 76


"Sales Proceeds" means t he gross proceeds from any of Your Transact ions, including (a) all
shipping and handling, gif t wrap and ot her charges; (b) taxes and cust oms duties t o t he ext ent
specif ied in the applicable Tax Policies; and (c) in t he case of invoiced orders, any amount s t hat
customers f ail to pay t o us or our Aff iliat es on or before t he applicable invoice due dat e.


"Seller Central" means t he online portal and t ools made available by Amazon t o you, for your use
in managing your orders, inventory, and presence on a part icular Amazon Sit e or any ot her online
point of presence.


"Service" means each of t he following services: Selling on Amazon, Fulfillment by Amazon, Amazon
Advert ising (including Amazon Sponsored Product s), t he Selling Part ner APIs, and, if t he Elect ed
Count ry for a Service is t he Unit ed St at es, t he Transaction Processing Services, t oget her in each
case wit h any relat ed services and mat erials we make available.


"Service Terms" means t he service t erms applicable t o each Service, which are made part of t his
Agreement upon t he dat e you elect t o regist er for or use t he applicable Service, and any
subsequent modificat ions we make t o t hose t erms.


"Technology" means any: (a) ideas, procedures, processes, syst ems, methods of operat ion,
concept s, principles, and discoveries prot ect ed or protect able under t he Laws of any jurisdict ion; (b)
interfaces, prot ocols, glossaries, libraries, struct ured XML formats, specificat ions, grammars, dat a
format s, or ot her similar mat erials; and (c) sof t ware, hardware, code, t echnology, or ot her
funct ional it em.


"Trademark" means any t rademark, service mark, t rade dress (including any propriet ary "look and
feel"), trade name, ot her propriet ary logo or insignia, or any ot her source or business ident ifier,
protected or prot ect able under any Laws.


"US Amazon Site" means that website, the primary home page of which is ident ified by t he URL
www.amazon.com, and any successor or replacement of such websit e.


"Your Materials" means all Technology, Your Trademarks, Cont ent , Your Product informat ion, dat a,
materials, and ot her it ems or informat ion provided or made available by you or your Af filiat es t o
Amazon or it s Affiliat es.


"Your Personnel" means any t hird part y warrant ing, administ ering or ot herwise involved in t he
off er, sale, performance, or f ulfillment of Your Product s, including any of your employees,
represent atives, agent s, cont ract ors, or subcont ractors.


"Your Product" means any product or service (including Opt ional Coverage Plans) t hat you: (a) have
offered through the Selling on Amazon Service; (b) have made available for advert ising t hrough the
Amazon Advert ising Service; or (c) have fulf illed or ot herwise processed through t he Fulfillment by
Amazon Service.


"Your Sales Channels" means all sales channels and other means t hrough which you or any of your
Affiliat es off ers product s or services, ot her t han physical st ores.


"Your Taxes" means any and all sales, goods and services, use, excise, premium, import, export ,
value added, consumpt ion, and ot her t axes, regulat ory fees, levies (specifically including
environment al levies), or charges and duties assessed, incurred, or required t o be collect ed or paid
for any reason (a) in connect ion wit h any advert isement , of fer or sale of products or services by you
on or through or in connect ion wit h t he Services; (b) in connection wit h any products or services
provided f or which Your Product s are, direct ly or indirect ly, involved as a form of payment or
exchange; or (c) otherwise in connect ion wit h any act ion, inact ion, or omission of you or your
Affiliat es, or any Persons providing product s or services, or your or t heir respect ive employees,
agent s, contract ors, or represent at ives, f or which Your Product s are, direct ly or indirect ly, involved
asFEEDBACK
    a form of payment or exchange. Also, if t he Elect ed Count ry is t he United St at es, Mexico, or
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 12 of 76


Canada as it is used in t he Fulfillment by Amazon Service Terms, t his def ined t erm also means any
of t he types of taxes, dut ies, levies, or fees ment ioned above that are imposed on or collectible by
Amazon or any of it s Aff iliat es in connect ion wit h or as a result of fulf illment services including t he
st orage of invent ory or packaging of Your Product s and ot her mat erials owned by you and st ored
by Amazon, shipping, gift wrapping, or ot her act ions by Amazon in relat ion to Your Product s
pursuant to the Fulfillment by Amazon Service Terms.


"Your Trademarks" means Trademarks of yours t hat you provide t o us: (a) in non-t ext form f or
branding purposes; and (b) separat e from (and not embedded or ot herwise incorporat ed in) any
product specific information or materials.


"Your Transaction" means any sale of Your Product (s) t hrough an Amazon Sit e.


Selling on Amazon Service Terms


The Selling on Amazon Service ("Selling on Amazon") is a Service t hat allows you to off er cert ain
products and services direct ly on t he Amazon Sites.


These Selling on Amazon Service Terms are part of t he Agreement, but, unless specif ically provided
otherwise, concern and apply only to your participat ion in Selling on Amazon. BY REGISTERING FOR
OR USING THE SELLING ON AMAZON SERVICE, YOU (ON BEHALF OF YOURSELF OR THE BUSINESS
YOU REPRESENT) AGREE TO BE BOUND BY THE AGREEMENT, INCLUDING THESE SELLING ON
AMAZON SERVICE TERMS. NOTWITHSTANDING THE PREVIOUS SENTENCE, IF YOU HAVE
ENTERED INTO A SEPARATE AGREEMENT THAT PERMITS YOU TO OFFER YOUR PRODUCTS
THROUGH A PARTICULAR AMAZON SITE (E.G., A MERCHANTS@ AMAZON.COM PROGRAM
AGREEMENT, MERCHANTS @AMAZON.CO.JP PROGRAM AGREEMENT OR ANY PREDECESSOR
OF THOSE AGREEMENTS), THEN TO THE EXTENT THAT YOU CONTINUE TO LIST AND SELL
YOUR PRODUCTS ON THAT AMAZON SITE PURSUANT TO SUCH SEPARATE AGREEMENT,
TRANSACTIONS OF YOUR PRODUCTS ON THAT AMAZON SITE AND ANY TAX SERVICES WE
MAKE AVAILABLE UNDER THAT AGREEMENT ARE GOVERNED BY THE TERMS OF THAT
AGREEMENT AND NOT BY THESE SELLING ON AMAZON SERVICE TERMS.


S-1 Your Product Listings and Orders.


S-1.1 Products and Product Information. You will provide accurat e and complet e Required
Product Informat ion for each product or service t hat you off er t hrough any Amazon Sit e and
prompt ly update t hat informat ion as necessary t o ensure it at all times remains accurat e and
complete. You will also ensure t hat Your Mat erials, Your Product s (including packaging) and your
off er and subsequent sale of any of t he same on any Amazon Sit e comply wit h all applicable Laws
(including all minimum age, marking and labeling requirement s) and do not cont ain any sexually
explicit (except to t he ext ent expressly permit t ed under our applicable Program Policies),
defamat ory or obscene materials. You may not provide any information for, or ot herwise seek t o
offer any Excluded Product s on any Amazon Sit es; or provide any URL Marks f or use, or request t hat
any URL Marks be used, on any Amazon Sit e. If you of fer a product for sale on an Amazon Sit e t hat
requires a warning under Calif ornia Healt h & Safet y Code Section 25249.6 (a “Proposit ion 65
Warning”) you (a) will provide us wit h such warning in t he manner specif ied in our Program Policies,
(b) agree t hat our display of a Proposit ion 65 Warning on a product det ail page is confirmat ion of
our receipt of that warning, and (c) will only revise or remove a Proposit ion 65 Warning for a
product when t he prior warning is no longer legally required.


S-1.2 Product Listing; Merchandising; Order Processing. We will enable you t o list Your Product s
on a particular Amazon Sit e, and conduct merchandising and promot e Your Products in accordance
with the Agreement (including via t he Amazon Associated Propert ies or any ot her f unct ions,
feat ures, advertising, or programs on or in connect ion wit h t he applicable Amazon Sit e). We may
use mechanisms t hat rate, or allow shoppers t o rat e, Your Product s and your perf ormance as a
seller and Amazon may make t hese rat ings and f eedback publicly available. We will provide Order
Inf ormat ion to you f or each order of Your Products t hrough t he applicable Amazon Sit e. We will
 FEEDBACK
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 13 of 76


also receive all Sales Proceeds on your behalf for each of t hese t ransact ions and will have exclusive
right s t o do so, and will remit t hem to you in accordance wit h t hese Selling on Amazon Service
Terms. We may permit cert ain cust omers t o place invoiced orders for Your Products, in which case
remit t ance of Sales Proceeds may be delayed according t o each cust omer’s invoicing t erms. You
will accept and f ulf ill invoiced orders in t he same manner as you accept and fulf ill non-invoiced
orders, except as ot herwise provided in t his Agreement.


S-1.3 Shipping and Handling Charges. For Your Product s ordered by cust omers on or t hrough an
Amazon Site that are not fulfilled using Fulfillment by Amazon, you will det ermine t he shipping and
handling charges subject t o our Program Policies and st andard funct ionality (including any
category-based shipping and handling charges we det ermine, such as for product s off ered by
sellers on the Individual selling plan and BMVD Product s generally). When we det ermine t he
shipping and handling charges, you will accept t hem as payment in full for your shipping and
handling. Please refer t o t he Fulf illment by Amazon Service Terms for Your Products t hat are
fulfilled using Fulf illment by Amazon.


S-1.4 Credit Card Fraud and Unpaid Invoices. We will bear the risk of (a) credit card fraud (i.e., a
fraudulent purchase arising f rom the t heft and unaut horized use of a third part y's credit card
informat ion) occurring in connect ion wit h Your Transact ions, and (b) lat e payment s or default s by
customers in connect ion with invoiced orders for Your Product s, except , in each case, in connect ion
with Seller-Fulfilled Product s t hat are not fulfilled st rict ly in accordance wit h t he Order Informat ion
and Shipment Inf ormat ion. You will bear all other risk of f raud or loss.


S-2 Sale and Fulfillment; Refunds and Returns.


S-2.1 Sale and Fulfillment. Other than as described in t he Fulfillment by Amazon Service Terms f or
each Amazon Sit e f or which you decide t o regist er or use t he Selling on Amazon Service, you will:
(a) source, of fer, sell and fulfill your Seller-Fulfilled Product s, and source and, off er and sell your
Amazon-Fulf illed Product s, in each case in accordance wit h the t erms of t he applicable Order
Inf ormat ion, this Agreement, and all t erms provided by you or us and displayed on t he applicable
Amazon Site at t he t ime of t he order and be solely responsible for and bear all risk f or t hose
activit ies; (b) package each of Your Product s in a commercially reasonable manner complying wit h
all applicable packaging and labeling requirement s and ship each of Your Product s on or bef ore its
Expected Ship Date; (c) ret rieve Order Informat ion at least once each business day; (d) only cancel
Your Transactions as permit ted pursuant t o your t erms and condit ions appearing on t he applicable
Amazon Site at t he t ime of t he applicable order or as may be required under t his Agreement ; (e)
fulfill Your Product s t hroughout t he Elect ed Count ry (except t o t he ext ent prohibit ed by Law or t his
Agreement); (f ) provide t o Amazon informat ion regarding f ulf illment and order st at us and t racking
(to the extent available), in each case as request ed by us using the processes designat ed by us, and
we may make any of this information publicly available; (g) comply wit h all St reet Dat e inst ruct ions;
(h) ensure t hat you are the seller of each of Your Products; (i) include an order-specific packing slip,
and, if applicable, any t ax invoices, wit hin each shipment of Your Product s; (j) identify yourself as
the seller of each of Your Product s on all packing slips or ot her informat ion included or provided in
connect ion with Your Product s and as t he Person t o which a cust omer may ret urn t he applicable
product; and (k) not send cust omers emails conf irming orders or fulfillment of Your Product s. If any
of Your Products are fulfilled using Fulf illment by Amazon, t he Fulfillment by Amazon Service
Terms for the applicable Amazon Sit e will apply t o t he st orage, f ulfillment , and delivery of such
Amazon-Fulf illed Product s.


S-2.2 Cancellations, Returns, and Refunds. The Amazon Refund Policies f or the applicable Amazon
Site will apply to Your Product s. Subject t o Sect ion F-6, for any of Your Product s fulfilled using
Fulfillment by Amazon, you will prompt ly accept, calculat e, and process cancellations, returns,
refunds, and adjust ment s in accordance wit h t his Agreement and t he Amazon Refund Policies f or
the applicable Amazon Sit e, using funct ionalit y we enable for your account. Wit hout limit ing your
obligations, we may in our sole discret ion accept, calculate, and process cancellat ions, ret urns,
refunds, and adjust ment s for t he benefit of customers. You will rout e any payment s t o cust omers in

 FEEDBACK
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 14 of 76


connection with Your Transactions t hrough Amazon. We will make any payment s t o cust omers in
the manner we determine, and you will reimburse us for all amount s we pay.


S-3 Problems with Your Products.


S-3.1 Delivery Errors and Nonconformities; Recalls. You are responsible for any non-performance,
non-delivery, misdelivery, t hef t , or ot her mist ake or act in connect ion wit h t he fulf illment of Your
Products, except t o t he ext ent caused by: (a) credit card fraud f or which we are responsible under
Sect ion S-1.4; or (b) our f ailure t o make available t o you Order Inf ormat ion as it was received by us
or result ing from address verif icat ion. Not wit hst anding t he previous sentence, for t hose of Your
Products t hat are f ulf illed using Fulf illment by Amazon, if any, t he Fulfillment by Amazon Service
Terms for the applicable Amazon Sit e will apply t o non-delivery, misdelivery, t heft , or ot her
mistake or act in connect ion wit h t he fulfillment of t hose of Your Product s. You are also responsible
for any non-conformit y or defect in, any public or privat e recall of, or saf et y alert of any of Your
Products or other products provided in connect ion wit h Your Product s. You will notify us promptly
as soon as you have knowledge of any public or privat e recalls, or safet y alert s of Your Product s or
other products provided in connect ion wit h Your Product s.


S-3.2 A-to-z Guarantee and Chargebacks. If we inf orm you t hat we have received or init iat ed a
claim under the "A-to-z Guarant ee" off ered on a part icular Amazon Sit e or ot her dispute relat ing t o
the of fer, sale or f ulfillment of Your Product s (ot her t han a chargeback), concerning one of Your
Transact ions, you will have 30 days t o appeal our decision of t he claim. If we f ind t hat a claim,
chargeback, or dispute is your responsibilit y, you (a) will not t ake recourse against the cust omer,
and (b) are responsible for reimbursing us in accordance with t he Service Fee Payment s sect ion of
this Agreement for t he amount paid by t he customer (including taxes and shipping and handling
charges, but excluding any Referral Fees t hat we ret ained as def ined in Sect ion S-4), and all ot her
fees and expenses associat ed with t he original t ransact ion (such as credit card, bank, payment
processing, re-present ment , or penalt y f ees) and any relat ed chargebacks or refunds, t o t he ext ent
payable by us.


S-4 Compensation.


You will pay us: (a) t he applicable Referral Fees; (b) any applicable Variable Closing Fee; (c) t he non-
refundable Selling on Amazon Subscript ion Fee in advance each mont h; and (d) any ot her
applicable fees described in this Agreement (including any applicable Program Policies). "Selling on
Amazon Subscription Fee" means t he fee specified as such on t he Selling on Amazon Fee Schedule
for the applicable Amazon Sit e at t he t ime such f ee is payable. Wit h respect t o each of Your
Transact ions: (i) "Sales Proceeds" has the meaning set out in t his Agreement ; (ii) "Variable Closing
Fee" means the applicable fee, if any, as specif ied on t he Variable Closing Fee Schedule f or t he
applicable Amazon Sit e; and (iii) "Referral Fee" means the applicable f ee based on t he Sales
Proceeds from Your Transact ion t hrough t he applicable Amazon Sit e specified on the Selling on
Amazon Fee Schedule for t hat Amazon Sit e at t he t ime of Your Transact ion, based on t he
categorization by Amazon of t he t ype of product t hat is t he subject of Your Transact ion; provided,
however, t hat Sales Proceeds will not include any shipping charges set by us in t he case of Your
Transact ions that consist solely of product s fulfilled using Fulfillment by Amazon.


S-5 Remittance of Sales Proceeds & Refunds.


Except as ot herwise st ated in this Agreement , we will remit to you your available balance on a bi-
weekly (14 day) (or at our opt ion, more frequent ) basis, which may vary for each Elected Count ry.
For each remit tance, your available balance is equal t o any Sales Proceeds not previously remit t ed
to you as of t he applicable Remitt ance Calculat ion Dat e (which you will accept as payment in full
for Your Transactions), less: (a) t he Ref erral Fees; (b) t he applicable Variable Closing Fee; (c) any
Selling on Amazon Subscript ion Fees; (d) any ot her applicable fees described in t his Agreement
(including any applicable Program Policies); (e) any amount s we require you t o maint ain in your
account balance pursuant t o t his Agreement (including payment s wit hheld pursuant t o Section 2 of
the General Terms, Sect ion S-1.4, and applicable Program Policies); and (f) any t axes t hat Amazon
 FEEDBACK
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 15 of 76


automatically calculates, collects and remits to a tax aut horit y according t o applicable law, as
specif ied in the Tax Policies.


We may establish a reserve on your account based on our assessment of risks t o Amazon or t hird
part ies posed by your act ions or perf ormance, and we may modif y t he amount of t he reserve f rom
time to time at our sole discretion.


When you eit her init ially provide or lat er change Your Bank Account informat ion, t he Remit t ance
Calculat ion Dat e may be def erred by up t o 14 days. For sellers t hat registered af t er October 30,
2011 and are on t he Individual selling plan, t he remit t ance amount will not include Sales Proceeds
from the 14-day period before t he dat e of remit t ance. If you ref und money t o a cust omer in
connect ion with one of Your Transact ions, and t he refund is routed t hrough us (or our Affiliat e), on
the next available Remit t ance Calculation Dat e we will refund t o you t he amount of t he Referral
Fee paid by you t o us at t ribut able t o t he amount of t he cust omer refund (including refunded t axes
and customs dut ies only t o the ext ent specified in the applicable Tax Policies), less t he Refund
Administration Fee f or each of Your Product s ref unded t hat is not a BMVD Product, which amount
we may ret ain as an administ rat ive f ee; provided, however, t hat in the case of a complet e refund of
Sales Proceeds for a Media Product, we will refund t o you t he f ull amount of any Variable Closing
Fee paid by you t o us (and in the case of a part ial refund of Sales Proceeds f or a Media Product , we
will not refund to you any portion of any Variable Closing Fee paid by you t o us). We will remit any
amounts to be ref unded by us pursuant t o t his subsect ion from t ime t o t ime t oget her wit h t he next
remittance to be made by us t o you. “Refund Administration Fee” means t he applicable f ee
described on the Refund Administrat ion Fee Schedule f or t he applicable Amazon Sit e.


Net Sales Proceeds f rom non-invoiced orders will be credit ed t o your available balance when they
are received by us or our Aff iliat es. Sales Proceeds from invoiced orders will be credit ed t o your
available balance: (a) if you have elected in advance t o pay a f ee t o accelerat e remit t ance of Sales
Proceeds from invoiced orders, on t he day all of Your Product s included in an invoiced orders are
shipped; or (b) otherwise, no lat er than t he sevent h day f ollowing t he dat e that an invoiced order
becomes due.


S-6 Amazon’s Websites and Services.


Amazon has t he right t o det ermine, t he design, content , f unctionalit y, availabilit y and
appropriat eness of it s websites, select ion, and any product or listing in t he Amazon St ores, and all
aspects of each Service, including your use of t he same. Amazon may assign any of t hese rights or
delegate any of it s responsibilit ies.


S-7 Continuing Guarantees


Guarantees. We require the following cont inuing guarant ees f rom you.


S-7.1 Pesticides. If any of Your Products is a “pest icide” being of fered or sold in t he Unit ed St at es or
other product regulated under t he US Federal Insect icide, Fungicide, and Rodent icide Act (“FIFRA”)
or its implementing regulat ions, t hen you provide t o us t he following cont inuing guarant y that : (a)
you are a resident of t he Unit ed St at es; and (b) wit h respect t o each such product , t he pesticides
and other FIFRA regulated product s comprising each sale, shipment , or other delivery made
previously or hereaf t er are: (i) lawfully regist ered wit h t he US Environment al Protect ion Agency at
the time of sale, shipment , or delivery, or fully qualified for a specific exemption from t he FIFRA
regist rat ion requirement s at t he t ime of sale, shipment , or delivery, (ii) compliant wit h all
requirements of FIFRA and it s implementing regulat ions at the t ime of sale, shipment , or delivery,
and (iii) provided by you in t he original, unbroken packaging.


Selling on Amazon Definitions


"Amazon-Fulfilled Products" means any of Your Products t hat are f ulf illed using t he Fulfillment by
Amazon
 FEEDBACKService.
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 16 of 76


"Amazon Refund Policies" means t he return and refund policies published on t he applicable
Amazon Site and applicable t o products and services off ered via t hat Amazon Sit e.


"BMVD Product" means any book, magazine or ot her publicat ion, sound recording, video recording,
and/ or other media product in any format , including any subscription, in each case excluding any
soft ware product , comput er game, and/ or video game.


"Excluded Offer" means any discount , rebat e, promot ional of fer, or ot her t erm of off er and/ or sale
t hat you: (a) have at tempt ed t o make available t hrough a part icular Amazon Sit e but t hat we do
not honor or support (but only unt il such t ime as we honor or support the same on such Amazon
Site); or (b) make available solely t o t hird part ies t hat eit her (i) purchase product s solely f or resale
and who are not end users of such product s (i.e., wholesale purchasers), or (ii) if t he Elect ed Count ry
is Canada, Mexico, or t he Unit ed St at es, have affirmat ively elected and opt ed-in t o part icipat e in
your or one of your Af filiat es' membership-based cust omer loyalty or customer incent ive programs.


"Expected Ship Date" means, wit h respect t o any of Your Product s, eit her: (a) the end of t he
shipping availabilit y period (which begins as of t he date on which t he relevant order is placed by
the cust omer), or t he shipping availabilit y dat e, as applicable, specif ied by you in t he relevant
invent ory/ product dat a f eed f or Your Product ; or (b) if you do not specif y shipping availabilit y
informat ion in such invent ory/ product dat a f eed or t hat Your Product is in a product cat egory t hat
Amazon designat es as requiring shipment wit hin t wo (2) business days, two (2) business days after
the dat e on which t he relevant order is placed by t he cust omer.


"Media Product" means any book, magazine or ot her publicat ion, sound recording, video recording,
soft ware product , comput er game, videogame, or ot her media product in any f ormat , including any
related subscription, of fered t hrough an Amazon Site.


"Purchase Price" means the tot al amount payable or paid for Your Product (including t axes and
shipping and handling charges only t o t he ext ent specif ied in t he applicable Tax Policies).


"Remittance Calculation Date" is the date that is two (2) business days prior to t he dat e of
remittance (the "Remittance Calculation Date").


"Required Product Information" means, wit h respect to each of Your Product s in connect ion wit h a
part icular Amazon Sit e, the following (except t o t he ext ent expressly not required under the
applicable Program Policies): (a) descript ion, including as applicable, locat ion-specific availabilit y
and options, scheduling guidelines and service cancellat ion policies; (b) SKU and UPC/ EAN/ JAN
numbers, and ot her ident if ying informat ion as Amazon may reasonably request ; (c) informat ion
regarding in-st ock st at us and availabilit y, shipping limitat ions or requirement s, and Shipment
Inf ormat ion (in each case, in accordance wit h any categorizat ions prescribed by Amazon f rom time
to t ime); (d) categorizat ion wit hin each Amazon product cat egory and browse st ruct ure as
prescribed by Amazon from t ime t o t ime; (e) digit ized image t hat accurat ely depict s only Your
Product, complies wit h all Amazon image guidelines, and does not include any addit ional logos,
text or ot her markings; (f) Purchase Price; (g) shipping and handling charge (in accordance wit h our
st andard funct ionalit y); (h) any t ext , disclaimers, warnings, notices, labels, warrant ies, or ot her
cont ent required by applicable Law t o be displayed in connect ion wit h t he of fer, merchandising,
advert ising, or sale of Your Product ; (i) any vendor requirement s, rest ocking f ees or ot her t erms and
condit ions applicable to such product t hat a customer should be aware of prior to purchasing t he
product; (j) brand; (k) model; (l) product dimensions; (m) weight; (n) a delimit ed list of t echnical
specif icat ions; (o) SKU and UPC/ EAN/ JAN numbers (and ot her ident ifying informat ion as we may
reasonably request ) for accessories relat ed t o Your Product t hat is available in our cat alog; (p) t he
state or country Your Product ships f rom; and (q) any ot her informat ion reasonably request ed by us
(e.g., the condit ion of used or refurbished product s; and invoices and other document at ion
demonstrat ing t he safet y and authent icit y of Your Product s).


"Seller-Fulfilled Products" means any of Your Products that are not fulfilled using t he Fulf illment
byFEEDBACK
    Amazon Service.
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 17 of 76


"Shipment Information" means, with respect to any of Your Product s, the est imated or promised
shipment and delivery dat e.


"Street Date" means the dat e(s), if any, specified by the manuf act urer, dist ribut or, and/ or licensor
of a product as the dat e bef ore which specified informat ion regarding such product (e.g., t it le of a
book) should not be disclosed publicly, or such product should not be delivered or ot herwise made
available t o cust omers.


"URL Marks" means any Trademark, or any ot her logo, name, phrase, ident ifier, or charact er st ring,
that contains or incorporat es any t op level domain (e.g., .com, .edu, .ca, .fr, .jp) or any variat ion of a
top level domain (e.g., dot com, dot com, net , or com).


"Your Transaction" is def ined in t he General Terms of t his Agreement ; however, as used in t hese
Selling on Amazon Service Terms, it means any and all such t ransact ions t hrough Selling on
Amazon only.


Fulfillment by Amazon Service Terms


Fulfillment by Amazon ("FBA") provides fulfillment and associat ed services f or Your Product s.


These FBA Service Terms are part of t he Agreement , and, unless specifically provided ot herwise,
concern and apply only to your part icipation in FBA. BY REGISTERING FOR OR USING FBA, YOU (ON
BEHALF OF YOURSELF OR THE BUSINESS YOU REPRESENT) AGREE TO BE BOUND BY THE
AGREEMENT, INCLUDING THESE FBA SERVICE TERMS. You expressly agree t hat Amazon may
engage it s Aff iliat e(s) or a t hird part y in order t o complet e one or more of t he fulfillment and
associat ed services outlined below.


Fulfillment Services


F-1 Your Products


Once you are accept ed int o FBA, you must apply t o regist er each product you of fer t hat you wish t o
include in the FBA program. We may refuse regist rat ion in FBA of any product , including on the
basis t hat it is an FBA Excluded Product or t hat it violat es applicable Program Policies. You may at
any t ime wit hdraw regist rat ion of any of Your Products from FBA.


F-2 Product and Shipping Information


You will, in accordance wit h applicable Program Policies, provide accurat e and complet e
informat ion about Your Product s regist ered in FBA, and will provide Fulfillment Request s for any
Unit s fulfilled using FBA t hat are not sold t hrough an Amazon Sit e ("Multi-Channel Fulfillment
Units"). You will promptly updat e any informat ion about Your Product s in accordance with our
requirements and as necessary so t hat t he informat ion is at all t imes accurat e and complete.


F-3 Shipping to Amazon


F-3.1 Except as ot herwise provided in Sect ion F-3.4 and Sect ion F-5, FBA is limit ed t o Unit s t hat are
shipped to and from fulfillment cent ers locat ed wit hin t he applicable Elect ed Count ry, t o be
delivered to cust omers in t he same Elect ed Count ry only. You will ship Units to us in accordance
with applicable Program Policies. You will be responsible for all costs incurred t o ship t he Unit s to
the shipping destination (including cost s of f reight and t ransit insurance) and Amazon will not pay
any shipping costs. You are responsible for payment of all customs, dut ies, t axes, and ot her charges.
In t he case of any improperly packaged or labeled Unit , we may return t he Unit t o you at your
expense (pursuant t o Sect ion F-7) or re-package or re-label t he Unit and charge you an
administrat ive fee.

 FEEDBACK
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 18 of 76


F-3.2 You will not deliver t o us, and we may refuse t o accept, any shipment or Unsuit able Unit .


F-3.3 We may, at our opt ion, allow you t o ship Unit s at your expense (as described in Sect ion F-9.2)
to fulfillment centers using discounted shipping rat es t hat we may make available t o you for cert ain
carriers. In such event, you will use t he processes and supply the informat ion t hat we require f or
you t o obtain such discount ed rat es. You also must comply wit h st andard operat ing procedures,
weight and size rest rict ions, and ot her shipping requirement s of t he applicable carriers. If we
provide you with t he est imat ed shipping cost s prior t o shipment , you acknowledge and agree t hat
actual shipping cost s may vary from such est imat es. In addit ion, if t he weight of t he Unit , as
det ermined by t he applicable carrier, diff ers f rom t hat submit t ed by you t o us for purposes of
det ermining the est imat ed shipping cost s, t hen: (a) you may be charged more t han t he est imat ed
shipping costs if t he carrier det ermines t hat such Unit weighs more t han as submit t ed by you; or (b)
you may be charged t he full amount of t he est imated shipping costs even if t he carrier det ermines
the weight t o be less t han t hat submit t ed by you. You will not use carrier account information (e.g.,
carrier account number, amount of shipping rat es, et c.) f or any purpose, nor disclose such
informat ion t o any t hird part y, and you will prot ect such inf ormat ion as Amazon's confident ial
informat ion in accordance wit h Sect ion 11 of t he General Terms of t his Agreement . As bet ween
you, us, and t he applicable carrier, you will be t he shipper of record, and we will make payment to
the carrier wit h respect t o t he shipment of all Unit s using such discounted rates. Tit le and risk of
loss for any Unit shipped using discount ed rat es provided by us under this Sect ion will remain wit h
you, and our provision of such shipping rat es will not creat e any liabilit y or responsibilit y for us wit h
respect to any delay, damage, or loss incurred during shipment . You aut horize t he applicable carrier
to provide us with all shipment t racking inf ormation.


F-3.4 If you ship Unit s from out side t he applicable Elect ed Count ry t o fulfillment centers, you will
list yourself as t he import er/ consignee and nominat e a cust oms broker. If Amazon is list ed on any
import document at ion, Amazon reserves t he right t o ref use t o accept the Unit s covered by t he
import documents and any cost s assessed against or incurred by Amazon will be collect ed from
Your Bank Account , deduct ed f rom amounts payable t o you, or by ot her met hod at our elect ion.


F-4 Storage


We will provide st orage services as described in t hese FBA Service Terms once we confirm receipt of
delivery. We will keep elect ronic records that t rack invent ory of Unit s by ident ifying t he number of
Units stored in any fulfillment cent er. We will not be required t o physically mark or segregat e Units
from ot her invent ory unit s (e.g., product s wit h t he same Amazon st andard ident if icat ion number)
owned by us, our Aff iliat es or third parties in t he applicable fulfillment cent er(s). If we elect t o
commingle Unit s wit h such ot her inventory unit s, both part ies agree that our records will be
sufficient to identify which products are Units. We may move Unit s among f acilit ies. If t here is a loss
of or damage t o any Unit s while t hey are being st ored, we will, compensat e you in accordance wit h
the FBA Guidelines, and you will, at our request , provide us a valid tax invoice f or t he compensation
paid to you. If we compensat e you for a Unit , we will be ent it led t o dispose of t he Unit pursuant t o
Sect ion F-7. At all ot her t imes, you will be solely responsible f or any loss of, or damage t o, any
Units. Our confirmed receipt of delivery does not : (a) indicat e or imply t hat any Unit has been
delivered free of loss or damage, or t hat any loss or damage t o any Unit lat er discovered occurred
aft er confirmed receipt of delivery; (b) indicat e or imply t hat we act ually received t he number of
Unit s of Your Product (s) specified by you for such shipment ; or (c) waive, limit , or reduce any of our
right s under t his Agreement . We reserve t he right t o change scheduling rest rictions and volume
limit ations on the delivery and storage of your invent ory in fulfillment centers in accordance wit h
Sect ion 15 of t he General Terms, and you will comply wit h any of these rest rict ions or limitat ions.


F-5 Fulfillment


As part of our fulfillment services, we will ship Unit s f rom our inventory of Your Product s t o t he
shipping addresses in t he Elect ed Count ry included in valid customer orders, or submitt ed by you as
part of a Fulf illment Request . We may ship Units t oget her wit h product s purchased f rom ot her
merchants, including any of our Affiliat es. We also may ship Unit s separat ely t hat are included in a
 FEEDBACK
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 19 of 76


single Fulfillment Request . If you part icipat e in our export f ulfillment services, we will also ship
Your Products that we det ermine t o be eligible (each, a "Foreign-Eligible Product") t o Foreign
Addresses wit hin countries we det ermine t o be eligible f or foreign shipment s, subject t o t he
addit ional terms on foreign shipment s in t he applicable FBA Guidelines.


F-6 Customer Returns


F-6.1 You will be responsible for and will accept and process ret urns of , and provide refunds and
adjust ments for, any Mult i-Channel Fulf illment Unit s in accordance wit h t he Agreement (including
the applicable Program Policies).


F-6.2 We will receive and process ret urns of any Amazon Fulfillment Unit s t hat were shipped t o
addresses within t he Elect ed Count ry in accordance with t he terms of your Seller Agreement , t hese
FBA Service Terms, and t he Program Policies. Any Sellable Units t hat are also Amazon Fulfillment
Units and that are properly ret urned will be placed back int o t he invent ory of Your Product s in t he
FBA Program. We may f ulf ill cust omer orders for Your Product s wit h any returned Amazon
Fulfillment Unit s. Except as provided in Sect ion F-7, you will ret ake t it le of all Units t hat are
returned by customers.


F-6.3 Subject to Section F-7, we will, at your direction, eit her ret urn or dispose of any Unit t hat is
returned to us by a cust omer and t hat we det ermine is an Unsuit able Unit.


F-6.4 If Amazon receives a customer return of a Multi-Channel Fulfillment Unit , you will direct us t o
return or dispose of the Unit at your own cost failing which we may dispose of the Unit as provided
in Sect ion F-7.


F-7 Returns to You and Disposal


F-7.1 You may, at any t ime, request t hat Unit s be ret urned t o you or t hat we dispose of Unit s.


F-7.2 We may wit h not ice ret urn Unit s to you, including upon terminat ion of t hese FBA Service
Terms. Returned Unit s will be sent to your designat ed shipping address. However, if (a) the
designated shipping address we have for you is out dated or incorrect , (b) you have not provided or,
upon our request, confirmed a designat ed shipping address in t he Elect ed Count ry, or (c) we cannot
make arrangement s f or you t o pay f or t he ret urn shipment, t hen t he Unit(s) will be deemed
abandoned and we may elect t o dispose of t hem as appropriat e based on t he invent ory (e.g., by
selling, recycling, donat ing, or dest roying it) and ret ain any proceeds we may receive f rom t he
disposal.


We may dispose of any Unsuit able Unit (and you will be deemed t o have consented to our act ion):
(d) immediately if we det ermine t hat (i) t he Unit creat es a safet y, healt h, or liabilit y risk t o Amazon,
our personnel, or any t hird part y; (ii) you have engaged in fraudulent or illegal act ivit y; or (iii) we
have cause to terminat e your use of Services wit h immediate eff ect pursuant t o Sect ion 3 and are
exposed to liabilit y t owards a t hird part y; (e) if you f ail to direct us to ret urn or dispose of any
Unsuitable Unit wit hin thirt y (30) days af t er we not ify you t hat the Unit has been recalled; or (f ) if
you fail to direct us to ret urn or dispose of any Unsuit able Unit within thirt y (30) days (or as
otherwise specified in t he applicable Program Policies) aft er we not ify you that it s removal is
required, f or instance because your use of FBA is suspended or t erminat ed or your seller account is
suspended, terminat ed or closed. In addit ion, you will reimburse us f or expenses we incur in
connect ion with any Unsuit able Unit s.


F-7.3 You may, at any t ime, request t hat we dispose of Unit s. In t his case, we may dispose of t hese
Units as appropriat e based on t he invent ory (e.g., by selling, recycling, donat ing, or destroying it)
and ret ain any proceeds we may receive from t he disposal. Tit le t o each disposed Unit will t ransfer
to us (or a third part y we select such as a charit y) at no cost , free and clear of any liens, claims,
securit y interest s or ot her encumbrances t o t he ext ent required t o dispose of t he Unit , and we may
retain  any proceeds, we may receive from the disposal.
 FEEDBACK
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 20 of 76


F-7.4 You will prompt ly not if y us of any recalls or potential recalls, or safet y alert s of any of Your
Products and cooperat e and assist us in connect ion wit h any recalls or saf et y alert s, including by
initiating the procedures for returning items t o you under our st andard processes. You will be
responsible for all cost s and expenses you, we or any of our or your Aff iliat es incur in connect ion
with any recall or pot ent ial recall or safet y alert s of any of Your Product s (including t he costs t o
return, st ore, repair, liquidate, or deliver t o you or any vendor any of t hese product s).


F-8 Customer Service


F-8.1 For Mult i-Channel Fulfillment Unit s we will have no cust omer service obligat ions ot her than
to pass any inquiries t o your at t ent ion at t he cont act you provide, and to make available a
reasonable amount of inf ormat ion regarding t he st at us of t he fulf illment of Your Product s if you
request it and if and t o t he ext ent we possess t he request ed inf ormat ion. You will ensure t hat all of
your policies and messaging to your customers regarding shipping of Your Product s and ot her
fulfillment-related mat t ers, reflect our policies and requirement s, including wit h regard t o shipping
methods, returns, and cust omer service; and, you will conspicuously display on your websit e(s), in
emails or in other media or communicat ions any specif ic disclosures, messaging, not ices, and
policies we require.


F-8.2 We will be responsible f or all cust omer service issues relat ing t o packaging, handling and
shipment, and customer returns, refunds, and adjust ment s related t o Amazon Fulf illment Units. We
will determine whet her a customer will receive a ref und, adjustment or replacement for any
Amazon Fulfillment Unit and we will require you t o reimburse us where we det ermine you have
responsibilit y in accordance wit h t he Agreement (including t hese FBA Service Terms and t he
Program Policies). We will promptly not ify you when you are responsible for a cust omer refund.
You may appeal if you disagree with our f inding wit hin t hirt y (30) days af ter our not if icat ion, in
addit ion to your right t o request t hat Unit s be ret urned to you under Sect ion F-7.1. Except as
provided in this Sect ion F-8 regarding any Amazon Fulfillment Unit s, cust omer service will be
handled in accordance wit h your Seller Agreement .


F-8.3 In situations relat ing t o Amazon Fulfillment Unit s where the wrong it em was delivered or t he
it em was damaged or lost or is missing, unless we determine t hat the basis for such request is
caused by you or any of your employees, agent s, or cont ract ors, we will, at our opt ion: (a) for any
Amazon Fulfillment Unit, (i) ship a replacement Unit to t he cust omer and reimburse you in
accordance wit h t he FBA Guidelines f or t he replacement Unit , or (ii) process a refund t o t he
customer and reimburse you in accordance wit h t he FBA Guidelines for t he Unit; or (b) for any
Mult i-Channel Fulfillment Unit, reimburse you in accordance wit h t he FBA Guidelines for the Unit
(and you will, at our request , provide us a valid t ax invoice f or t he compensat ion paid to you). Any
customer refund will be processed in accordance wit h t he Selling on Amazon and t he Transact ion
Processing Service Terms (if the Elected Count ry for a Service is t he Unit ed St ates). Not wit hst anding
the Selling on Amazon Service Terms, we will be ent it led t o ret ain t he applicable fees payable t o us
under the Selling on Amazon Service Terms and t hese FBA Service Terms, respect ively. Except as
expressly provided in t his Sect ion F-8.3, you will be responsible for all cost s associat ed wit h any
replacement or return.


F-8.4 If we provide a replacement Unit or refund as described in Sect ion F-8.3 t o a customer and
that cust omer ret urns t he original Unit t o us, we will be ent it led t o dispose of t he Unit pursuant t o
Sect ion F-7, or, if it is a Sellable Unit , we may, at our opt ion, place such Unit back into your
invent ory in accordance wit h Sect ion F-6. If we do put a Unit back int o your inventory, you will
reimburse us for t he applicable Replacement Value (as described in t he FBA Guidelines) of t he
returned Unit. Any replacement Unit shipped by us under t hese FBA Service Terms will be deemed
to be, and will be t reated in t he same manner as, an order and sale of such Unit f rom you t o t he
customer via the applicable Amazon Sit e or Service in accordance wit h, and subject t o, the t erms
and conditions of t his Agreement and your Seller Agreement.


F-9 Compensation for Fulfillment Services

 FEEDBACK
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 21 of 76


F-9.1 Handling and Storage Fees. You will pay us t he applicable f ees described in t he applicable
Fulfillment by Amazon Fee Schedule. You will be charged t he St orage Fees beginning on t he day
(up t o midnight ) t hat t he Unit arrives at a fulfillment center and is available f or f ulf illment by
Amazon (or in the case of any Unsuit able Unit , t he arrival day (up t o midnight )), unt il t he earlier of:
(a) t he day (up to midnight ) we receive a valid cust omer order f or such product or a request from
you t o ret urn or dispose of t he Unit ; or (b) t he day (up t o midnight ) we actually ship t he Unit t o
your designat ed ret urn locat ion or dispose of the Unit .


F-9.2 Shipping and Gift Wrap. For any Amazon Fulf illment Unit s we will det ermine t he amounts
charged to t he cust omer for shipping and gift wrap services f or the Unit s that we fulf ill t hrough the
FBA Program. As bet ween you and us, t hese charges will be your charges to t he cust omer, and we
will report them t o you. We will charge you (and you will pay us) a fee equal t o t he amount of such
charges to the cust omer. In t he case of shipment s of Unit s sold t hrough the Amazon Sit e that
qualify for t he "Free Shipping" promot ion, t he amounts charged t o t he cust omer f or shipping t he
Selling on Amazon Units t hat Amazon f ulf ills will f irst be charged t o t he cust omer and will next be
deduct ed from the t ot al charges t o t he cust omer as your promot ion and Amazon will not charge
you t he fee described above. If you ship Units t o us using t he shipping rat es t hat we may make
available pursuant t o Sect ion F-3.3, you will reimburse us for t he act ual amount s charged t o us by
the applicable carrier f or such shipments.


F-9.3 Proceeds. We may as appropriat e keep part of or all proceeds of any Unit s t hat we are
ent it led to dispose of pursuant t o F-7 above, or t o which t itle t ransfers, including ret urned,
damaged, or abandoned Unit s. You will have no securit y int erest , lien, or ot her claim t o the
proceeds t hat we receive in connect ion wit h t he sale, f ulf illment , and/ or shipment of t hese Units.


F-10 Indemnity


In addition t o your obligat ions under Sect ion 6 of t he General Terms of this Agreement , you also
agree to indemnif y, def end, and hold harmless us, our Affiliat es, and our and t heir respect ive
off icers, direct ors, employees, represent at ives, and agent s against any Claim t hat arises from or
relates to: (a) the Unit s (whet her or not t it le has t ransf erred t o us, and including any Unit t hat we
identify as yours pursuant to Section F-4), including any personal injury, deat h, or propert y damage;
(b) any of Your Taxes or the collect ion, payment , or failure t o collect or pay Your Taxes; and, if
applicable (c) any sales, use, value added, personal propert y, gross receipt s, excise, franchise,
business, or ot her t axes or fees, or any cust oms, dut ies, or similar assessment s (including penalt ies,
fines, or interest on any of t he foregoing) imposed by any government or ot her t axing authorit y in
connect ion with the shipment of Foreign-Eligible Products t o Foreign Addresses (collect ively,
"Foreign Shipment Taxes").


F-11 Release


You, on behalf of yourself and any successors, subsidiaries, Af filiat es, off icers, direct ors,
shareholders, employees, assigns, and any ot her person or ent it y claiming by, t hrough, under, or in
concert wit h t hem (collect ively, t he "Releasing Parties"), irrevocably acknowledge full and
complete satisfact ion of and uncondit ionally and irrevocably release and forever fully discharge
Amazon and each of our Aff iliat es, and any and all of our and t heir predecessors, successors, and
Affiliat es, past and present , as well as each of our and t heir part ners, off icers, direct ors,
shareholders, agent s, employees, represent at ives, at torneys, and assigns, past and present , and
each of them and all Persons acting by, t hrough, under, or in concert wit h any of t hem (collectively,
the "Released Parties"), from any and all claims, obligat ions, demands, causes of act ion, suit s,
damages, losses, debts, or right s of any kind or nat ure, whether known or unknown, suspect ed or
unsuspected, absolut e or cont ingent , accrued or unaccrued, det ermined or speculat ive (collectively,
"Losses") which t he Releasing Part ies now own or hold or at any t ime have owned or held or in t he
future may hold or own against t he Released Part ies, or any of t hem, arising out of, result ing from,
or in any way related t o t he shipment , export , or delivery of Your Product s t o Foreign Addresses,
including any t ax regist rat ion or collect ion obligat ions. You, on behalf of yourself and all ot her
Releasing Parties, recognize t hat you, and each of t hem, may have some Losses, whether in t ort ,
 FEEDBACK
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 22 of 76


product liability, cont ract , warrant y, or ot herwise, against the Released Parties of which you, or any
of t hem, are t otally unaware and unsuspecting, or which may arise or accrue aft er the dat e you
regist er f or or use FBA, which t he Releasing Part ies are giving up by agreeing t o these FBA Service
Terms. It is your int ent ion in agreeing t o t hese FBA Service Terms that t hese FBA Service Terms will
deprive t he Releasing Parties of each and all such Losses and prevent t he Releasing Part y from
asserting any such Losses against t he Released Part ies, or any of t hem. In addit ion t o t he foregoing,
you acknowledge, on behalf of yourself and all ot her Releasing Part ies t hat you are familiar wit h
Sect ion 1542 of the Civil Code of t he St at e of Calif ornia, as follows:


"A general release does not extend to claims which the creditor does not know or suspect to
exist in his favor at the time of executing the release, which if known by him must have
materially affected his settlement with the debtor."


You, on behalf of yourself and all ot her Releasing Part ies, expressly waive and relinquish any right s
that you had or may have under Sect ion 1542 of t he Civil Code of t he St at e of California or any
similar provision of t he law of any ot her jurisdict ion, t o t he full ext ent t hat you may lawfully waive
all such rights pert aining t o t he subject mat ter of these FBA Service Terms.


F-12 Disclaimer


IN ADDITION TO THE DISCLAIMER IN SECTION 7 OF THE GENERAL TERMS OF THIS AGREEMENT,
WE DISCLAIM ANY DUTIES OF A BAILEE OR WAREHOUSEMAN, AND YOU WAIVE ALL RIGHTS AND
REMEDIES OF A BAILOR (WHETHER ARISING UNDER COMMON LAW OR STATUTE OR OTHERWISE),
RELATED TO OR ARISING OUT OF ANY POSSESSION, STORAGE, OR SHIPMENT OF YOUR
PRODUCTS BY US OR OUR AFFILIATES OR ANY OF OUR OR THEIR CONTRACTORS OR AGENTS.


F-13 Effect of Termination


Your t erminat ion right s are set f ort h in Section 3 of t his Agreement . Following any t erminat ion of
the Agreement or these FBA Service Terms in connect ion wit h a part icular Elect ed Count ry, we will,
as directed by you, ret urn t o you or dispose of t he Unit s held in t hat Elect ed Count ry as provided in
Sect ion F-7. If you fail t o direct us t o ret urn or dispose of t he Unit s wit hin t hirty (30) days (or as
otherwise specified in t he applicable Program Policies) aft er terminat ion, t hen we may elect t o
return and/ or dispose of t he Unit s in whole or in part , as provided in Sect ion F-7, and you agree t o
such act ions. Upon any t erminat ion of t hese FBA Service Terms in connect ion wit h a part icular
Elected Country, all right s and obligations of t he part ies under t hese FBA Service Terms in
connect ion with such Elected Count ry will be ext inguished, except that t he right s and obligat ions of
the parties under Sections F-1, F-2, F-3, F-4, F-5, F-6, F-7, F-8, F-9, F-11, F-12, and F-13 wit h respect
to Unit s received or st ored by Amazon as of t he dat e of t erminat ion will survive the t erminat ion.


F-14 Tax Matters


You understand and acknowledge t hat st oring Unit s at fulfillment cent ers may creat e t ax nexus for
you in any country, state, province, or other localities in which your Unit s are st ored, and you will be
solely responsible f or any t axes owed as a result of such st orage. If any Foreign Shipment Taxes or
Your Taxes are assessed against us as a result of performing services for you in connect ion wit h t he
FBA Program or ot herwise pursuant to t hese FBA Service Terms, you will be responsible for such
Foreign Shipment Taxes and Your Taxes and you will indemnify and hold Amazon harmless f rom
such Foreign Shipment Taxes and Your Taxes as provided in Sect ion F-10 of t hese FBA Service
Terms.


F-15 Additional Representation


In addition t o your represent at ions and warrant ies in Section 5 of t he General Terms of this
Agreement , you represent and warrant t o us t hat : (a) you have valid legal t it le t o all Unit s and all
necessary rights to dist ribut e the Unit s and t o perf orm under t hese FBA Service Terms; (b) you will
deliver all Units to us in new condit ion (or in such condition ot herwise described by you in t he
  FEEDBACK
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 23 of 76


applicable Your Product list ing) and in a merchant able condit ion; (c) all Unit s and their packaging
will comply with all applicable marking, labeling, and ot her requirement s required by Law; (d) no
Unit is or will be produced or manuf act ured, in whole or in part , by child labor or by convict or
forced labor; (e) you and all of your subcont ract ors, agent s, and suppliers involved in producing or
delivering Units will strict ly adhere t o all applicable Laws of t he Elect ed Country, it s t errit ories, and
all ot her countries where Unit s are produced or delivered, regarding t he operat ion of t heir facilit ies
and their business and labor pract ices, including working condit ions, wages, hours, and minimum
ages of workers; and (f ) t hat all Foreign-Eligible Product s (i) can be lawfully export ed from Canada,
Mexico, or t he Unit ed St at es, as applicable, wit hout any license or ot her authorizat ion; and (ii) can
be lawf ully import ed into, and comply wit h all applicable Laws of , any eligible country.


FBA Definitions


"Amazon Fulfillment Units" means Unit s f ulfilled using FBA t hat are sold t hrough an Amazon Sit e.
For avoidance of doubt, if you have successfully regist ered f or or used bot h t he FBA and Selling on
Amazon Services, then the term "Amazon Fulfillment Units" and t he defined t erm "Amazon Fulf illed
Products" in t he Selling on Amazon Service Terms bot h refer t o t he same it ems.


"FBA Excluded Product" means any Unit that is an Excluded Product or is ot herwise prohibited by
the applicable Program Policies.


"Foreign Address" means (a) if t he Elected Count ry is t he United St ates, any mailing address t hat is
not (i) within the fifty states of the Unit ed St at es or Puert o Rico, or (ii) an APO/ FPO address; and (b)
if the Elected Count ry is not t he Unit ed St at es, any mailing address t hat is not wit hin the Elected
Count ry.


"Fulfillment Request" means a request t hat you submit t o us (in accordance wit h t he st andard
methods for submission prescribed by us) t o fulfill one or more Mult i-Channel Fulf illment Unit s.


"Multi-Channel Fulfillment Units" has t he meaning in Sect ion F-2.


"Sellable Unit" means a Unit t hat is not an Unsuit able Unit .


"Seller Agreement" means t he Selling on Amazon Service Terms, t he Merchant s@ Program
Agreement, the Marketplace Participat ion Agreement , any successor t o any of these agreements, or
any other similar agreement (as determined by Amazon) bet ween you and us that permit s you t o
off er product s and services via a particular Amazon Sit e.


"Shipping Information" means wit h respect t o any purchased Unit (s), t he f ollowing informat ion:
the name of t he recipient , t he shipping address, t he quant ity of Unit s t o be shipped, and any ot her
shipping-relat ed inf ormat ion we may reasonably request .


"Unit" means a unit of Your Product that you deliver to Amazon in connect ion wit h t he FBA
Program.


"Unsuitable Unit" means a Unit : (a) t hat is defect ive, damaged, unf it for a part icular purpose, or
lacking required label(s); (b) t he labels for which were not properly regist ered wit h Amazon before
shipment or do not mat ch t he product t hat was regist ered; (c) that is an FBA Excluded Product or
does not comply wit h t he Agreement (including applicable Service Terms and Program Policies); (d)
that Amazon determines is unsellable or unfulfillable; or (e) t hat Amazon det ermines is ot herwise
unsuit able.


Amazon Advertising Service Terms


The Amazon Advertising Service Terms govern your use of Amazon Advertising, a Service t hat
allows you to advertise your product s. The Amazon Advert ising Service Terms apply t o your use of
the
 FEEAd SKervices.
    DBAC
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 24 of 76


Your use of the Ad Services (as def ined in t he Amazon Advert ising Agreement ) is governed by the
Amazon Advert ising Agreement . You accept t he Amazon Advert ising Agreement , which may be
updat ed from time t o t ime by Amazon in accordance wit h it s t erms. The Amazon Advert ising
Agreement is available at htt ps:/ / advert ising.amazon.com/ terms. In t he event of any conflict
bet ween the General Terms or Program Policies and the Amazon Advert ising Agreement wit h
respect to the Ad Services, t he Amazon Advert ising Agreement will prevail t o t he ext ent of t he
conf lict . If the Amazon Advert ising Agreement is deemed unlawful, void, or f or any reason
unenf orceable, t hen the General Terms will govern your access t o and use of t he Ad Services.


Transaction Processing Service Terms


BY REGISTERING FOR OR USING ANY SERVICE OTHER THAN AMAZON ADVERTISING FOR WHICH
THE ELECTED COUNTRY IS THE UNITED STATES, YOU (ON BEHALF OF YOURSELF OR THE
BUSINESS YOU REPRESENT) AGREE TO BE BOUND BY THESE TRANSACTION PROCESSING SERVICE
TERMS FOR THAT SERVICE. NOTWITHSTANDING THE FOREGOING, IF A SEPARATE AGREEMENT
GOVERNS THE OFFER, SALE OR FULFILLMENT OF YOUR PRODUCTS ON THE US AMAZON SITE,
THE TERMS OF THAT AGREEMENT WILL CONTINUE TO GOVERN THE PROCESSING OF YOUR
TRANSACTIONS TO THE EXTENT DESCRIBED IN THAT AGREEMENT.


P-1 Payments Processing Agency Appointment


For non-invoiced orders, you aut horize Amazon Payment s, Inc. t o act as your agent f or purposes of
processing payment s, ref unds and adjust ment s for Your Transact ions, receiving and holding Sales
Proceeds on your behalf, remitting Sales Proceeds to Your Bank Account, charging your Credit Card,
and paying Amazon and it s Af filiates amount s you owe in accordance wit h this Agreement or ot her
agreements you may have with Amazon Affiliat es. For invoiced orders, you authorize: (a) Amazon
Capital Services, Inc. t o act as your agent f or purposes of processing payment s, ref unds and
adjust ments for Your Transact ions, and receiving and holding Sales Proceeds on your behalf ; and
(b) Amazon.com Services LLC t o act as your agent for purposes of remitt ing Sales Proceeds to Your
Bank Account, charging your Credit Card, and paying Amazon and it s Af filiat es amount s you owe in
accordance with t his Agreement or ot her agreement s you may have wit h Amazon Af filiat es.
Amazon Payment s, Inc., Amazon Capit al Services, Inc., and Amazon.com Services LLC are each an
“Amazon Payments Agent”. The applicable Amazon Payment s Agent s provide the services
described in these Transaction Processing Service Terms and t he relat ed services described in
Sect ions S-1.4, S-2.2, S-5, and F-8.3 of t he Agreement (collect ively, t he "Transaction Processing
Services").


When a buyer inst ruct s us t o pay you, you agree t hat t he buyer authorizes and orders us t o commit
the buyer's payment (less any applicable f ees or ot her amount s we may collect under t his
Agreement) to you. You agree that buyers satisf y t heir obligations t o you for Your Transact ions
when we receive t he Sales Proceeds. We will remit funds t o you in accordance wit h t his Agreement .


P-2 Remittance


Subject t o Section 2 of t he General Terms of this Agreement, t he applicable Amazon Payment s
Agent s will remit f unds t o you in accordance wit h Sect ion S-5 of t he Agreement and these
Transact ion Processing Service Terms. Each applicable Amazon Payment s Agent 's obligat ion t o
remit f unds collect ed or received by it or ot herwise credit ed t o your available balance in connect ion
with Your Transact ions is limit ed to f unds in your available balance t hat have become available in
accordance wit h t his Agreement less amount s owed to Amazon and any t axes t hat Amazon
aut omat ically calculat es, collect s and remit s t o a t ax aut horit y according to applicable law, as
specif ied in the Tax Policies, subject t o chargeback or reversal or withheld f or anticipat ed claims in
accordance with t his Agreement . Wit hout limit ing Amazon's right s t o collect any amount s you owe,
the applicable Amazon Payments Agent's receipt of Sales Proceeds or credit ing of Sales Proceeds to
your available balance discharges your obligat ion t o pay applicable f ees and ot her amount s under
this Agreement to t he ext ent t he Sales Proceeds received or credit ed equal or exceed t he f ees and

 FEEDBACK
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 25 of 76


other amounts you owe and the Sales Proceeds are applied t o the payment of t hose f ees and
amounts.


P-3 Your Funds


Your Sales Proceeds will be held in an account wit h t he applicable Amazon Payment s Agent (a
"Seller Account") and will represent an unsecured claim against t hat Amazon Payments Agent .
Your Sales Proceeds are not insured by t he Federal Deposit Insurance Corporat ion, nor do you have
any right or ent itlement t o collect Sales Proceeds direct ly from any cust omer. Prior t o disbursing
funds t o you, an Amazon Payment s Agent may combine Sales Proceeds held wit h t he f unds of
other users of the Services, invest t hem, or use t hem f or ot her purposes permit t ed by applicable
Laws. You will not receive interest or any ot her earnings on any Sale Proceeds. To the extent
required by applicable Laws, an Amazon Payment s Agent will not use any funds held on your behalf
for it s corporat e purposes, will not volunt arily make such f unds available t o its creditors in t he
event of bankruptcy or f or any ot her purpose, and will not knowingly permit it s credit ors t o att ach
such funds.


P-4 Verification


We may at any time require you t o provide any financial, business or personal information we
request t o verif y your identit y. You aut horize us t o obt ain from t ime t o t ime consumer credit
report s t o establish or update your Seller Account or in t he event of a disput e relat ing t o t his
Agreement or t he act ivit y under your Seller Account . You agree t o update all Seller Account
informat ion promptly upon any change. The Amazon Payment s Privacy Not ice applies t o
transact ions processed by Amazon Payment s, Inc.


P-5 Dormant Accounts


If t here is no act ivit y (as determined by us) in connect ion wit h your Seller Account f or t he period of
time set forth in applicable unclaimed property laws and we hold Sales Proceeds on your behalf, we
will notify you by means designat ed by us and provide you t he opt ion of keeping your Seller
Account open and maint aining t he Sales Proceeds in your Seller Account . If you do not respond t o
our not ice(s) wit hin t he t ime period we specif y, we will send t he Sales Proceeds in your Seller
Account t o your st ate of residency, as det ermined by us based on t he information in your Seller
Account . If we are unable t o determine your st at e of residency or your Seller Account is associat ed
with a f oreign count ry, your funds may be sent t o t he St at e of Delaware.


Selling Partner API Terms


API-1 Description of the Selling Partner APIs




The "Selling Partner APIs" enable your syst ems to int erface wit h cert ain feat ures or f unct ionality we
make available to you. These Selling Partner API Terms concern and apply only t o your use of the
Selling Partner APIs unless specif ically provided ot herwise. Under t he Selling Part ner API Terms,
you may authorize part ies who (a) develop Applications t o support you using t he Selling Part ner
APIs or the API Mat erials, (b) have regist ered wit h us as Developers, and (c) who have agreed t o t he
Marketplace Developer Agreement ("Developers") t o access Confident ial Inf ormation and Your
Materials via t he Selling Part ner APIs. If you wish t o use t he Selling Part ner APIs directly or develop
soft ware or a websit e t hat int erfaces wit h t he Selling Part ner APIs or t he API Mat erials (an
"Applicat ion"), you must regist er as a Developer.




We may make available Selling Part ner APIs (including t he Market place Web Services APIs) and
soft ware, d at a, text, audio, video, images, or ot her cont ent we make available in connect ion wit h
 FEEDBACK
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 26 of 76


the Selling Partner APIs, including relat ed document at ion, soft ware libraries, and ot her support ing
materials, regardless of format (collect ively t he "API Mat erials") that permit your syst ems t o
interface with cert ain f eat ures or f unct ionalit y available t o you. You may authorize Developers t o
access your Materials via the Selling Part ner APIs solely f or t he purpose of support ing your business
on Amazon. All terms and conditions applicable t o t he Selling Part ner APIs and t he API Mat erials in
this Agreement are solely bet ween you and us. API Mat erials t hat are public or open source
soft ware ("Public Soft ware") may be provided t o you under a separat e license, in which case,
not wit hstanding any ot her provision of t his Agreement, t hat license will govern your use of t hose
API Materials. For t he avoidance of doubt , except t o t he ext ent expressly prohibit ed by the license
governing any API Mat erials t hat are Public Soft ware, all of t he non-license provisions of this
Agreement will apply.




API-2 License and Related Requirements




API-2.1 Generally.


We grant you a limit ed, revocable, non-exclusive, non-sublicenseable, nont ransferable license
during the t erm of t he Agreement t o allow Developers t o access and use Your Mat erials t hrough
the Selling Partner APIs and the API Mat erials solely in support of your use of the Services covered
by t his Agreement . As bet ween you and us, we or our licensors own all right , title, and int erest in
and to the Selling Part ner APIs, t he API Mat erials, any t echnical and operat ional specif icat ions,
securit y protocols and ot her document at ion or policies provided or made available by us wit h
respect to the Selling Part ner APIs or t he API Mat erials (t he "Selling Part ner API Specif icat ions"),
and our internal dat a cent er facilit ies, servers, net working equipment , and host software syst ems
that are wit hin our or t heir reasonable cont rol and are used t o provide t he Selling Part ner APIs or
the API Materials (t he "Amazon Net work").




API-2.2 License Restrictions.


You may authorize Developers to access your Materials through t he Selling Part ner APIs and t he API
Materials only through APIs document ed and communicat ed by us in accordance wit h any
applicable Selling Partner API Specificat ions. You may not and may not authorize any ot her part y t o
do any of the following wit h t he Selling Part ner APIs and t he API Materials: (a) reverse engineer,
decompile, or disassemble them; (b) modify or creat e derivat ive works based upon t hem in whole or
in part; (c) distribut e copies of them; (d) remove any propriet ary not ices or labels on them; (e) use
any Public Software in any manner t hat requires, pursuant t o t he license applicable t o such Public
Soft ware, that t he Selling Part ner APIs and t he API Mat erials be disclosed, licensed, dist ribut ed, or
otherwise made available t o anyone; (f ) resell, lease, rent , t ransfer, sublicense, or otherwise transf er
right s t o t hem; (g) access or use t hem in a way int ended t o avoid incurring any applicable fees or
exceeding usage limit s or quot as; (h) access or use t hem f or any purpose unrelat ed to your use of
Services; or (i) access or use t hem f or fraudulent or illegal act ivit ies or act ivit ies t hat violat e our
policies or are otherwise harmful t o us or any t hird part ies. The limit at ions regarding Dat a Use in
Sect ion 11 above apply t o any informat ion you receive by t he direct or indirect use of the Selling
Partner APIs.




API-2.3 No License for Direct Access.



 FEEDBACK
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 27 of 76


For the avoidance of doubt , t hese Selling Part ner API Terms do not provide you a license t o direct ly
access or use the Selling Part ner APIs, or inst all, copy, use, or dist ribut e API Mat erials. Direct use of
the Selling Partner APIs may only be licensed t o Developers.




API-2.4 Account Identifiers and Credentials.


You must use t he account IDs and any unique public key/ privat e key pair issued by us t o provide
access to your data via the Selling Partner APIs ("Account Ident ifiers and Credent ials") in accordance
with these Selling Part ner API Terms to aut horize Developers t o access t he Selling Part ner APIs on
your behalf. You may only aut horize access t o Conf ident ial Informat ion and Your Mat erials via t he
Selling Partner APIs in t he way t hat we prescribe. Your Account Ident ifiers and Credent ials are for
your personal use only and you must maint ain t heir secrecy and security. You are solely responsible
for all activities that occur using your Account Ident ifiers and Credent ials, regardless of whether t he
activit ies are undert aken by you or a t hird part y (including your employees, cont ractors, or agent s).
You will provide us with notice immediately if you believe an unauthorized t hird part y may be using
your Account Identifiers and Credent ials or if your Account Ident if iers and Credentials are lost or
st olen. We are not responsible for unaut horized use of your Account Identifiers and Credent ials.




API-2.5 Security of Your Materials.


You are solely responsible for aut horizing ot hers t o access t he Selling Part ner APIs on your behalf
and taking your own st eps t o maintain appropriat e securit y, protect ion, and backup of Your
Materials. We are not responsible for any unaut horized access t o, alt erat ion of, or delet ion,
dest ruct ion, damage, loss, or f ailure t o st ore any of Your Materials in connect ion wit h t he Selling
Partner APIs (including as a result of your or any t hird part y’s errors, act s, or omissions).




API-3 Termination




API-3.1 Termination of Your Access to the Selling Partner APIs and the API Materials.


Without limit ing t he part ies’ right s and obligat ions under t his Agreement , t he Amazon Market place
Developer Agreement , or t he Amazon Market place API License Agreement , we may limit , suspend,
or terminat e your access t o t he Selling Part ner APIs and t he API Mat erials for convenience wit h 30
days’ not ice. We may t erminat e immediat ely if (a) we det ermine t hat you have mat erially breached
this Agreement and failed to cure wit hin 7 days of a cure not ice; (b) you or your account have been
engaged in deceptive, f raudulent , or illegal act ivit y; or (c) your use of the Selling Part ner APIs and
the API Mat erials may harm our customers.


Upon any suspension or t erminat ion of your access t o t he Selling Part ner APIs and t he API
Materials, you will immediat ely cease authorizing ot hers t o use t he Selling Part ner APIs and the API
Materials. Upon any t ermination of your access t o t he Selling Part ner APIs and the API Mat erials,
you will also immediat ely dest roy all API Mat erials. Upon any suspension or t erminat ion of your
access t o the Selling Part ner APIs and t he API Mat erials, we may cause your Account Ident if iers and
Credentials t o cease t o be recognized by t he Amazon Net work for t he purposes of t he Selling
Partner APIs and t he API Mat erials.




 FEEDBACK
        Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 28 of 76


API-4 Modifications to the Selling Partner APIs and the API Materials


We may change or discontinue t he Selling Part ner APIs or t he API Mat erials (including by changing
or removing features or funct ionality of the Selling Part ner APIs or t he API Mat erials) f rom time t o
time. For any mat erial changes t hat will negat ively af fect your business, we will provide not ice
under Section 18.




API-5 Disclaimers


THE SELLING PARTNER APIS AND THE API MATERIALS ARE PROVIDED "AS IS". WE AND OUR
AFFILIATE COMPANIES AND LICENSORS MAKE NO REPRESENTATIONS OR WARRANTIES OF ANY
KIND, WHETHER EXPRESS, IMPLIED, STATUTORY OR OTHERWISE REGARDING THE SELLING
PARTNER APIS OR THE API MATERIALS, INCLUDING ANY WARRANTY THAT THE SELLING PARTNER
APIS OR THE API MATERIALS WILL BE UNINTERRUPTED, ERROR FREE, OR FREE OF HARMFUL
COMPONENTS, OR THAT ANY MATERIALS OR DATA YOU ACCESS, USE, STORE, RETRIEVE, OR
TRANSMIT IN CONNECTION WITH THE SELLING PARTNER APIS, INCLUDING YOUR MATERIALS,
WILL BE SECURE OR NOT OTHERWISE LOST OR DAMAGED. EXCEPT TO THE EXTENT PROHIBITED
BY LAW, WE AND OUR AFFILIATE COMPANIES AND LICENSORS DISCLAIM ALL WARRANTIES,
INCLUDING ANY IMPLIED WARRANTIES OF MERCHANTABILITY, SATISFACTORY QUALITY, FITNESS
FOR A PARTICULAR PURPOSE, NON-INFRINGEMENT, OR QUIET ENJOYMENT, AND ANY
WARRANTIES ARISING OUT OF ANY COURSE OF DEALING OR USAGE OF TRADE. FURTHER,
NEITHER WE NOR ANY OF OUR AFFILIATE COMPANIES OR LICENSORS WILL BE RESPONSIBLE FOR
ANY COMPENSATION, REIMBURSEMENT, OR DAMAGES ARISING IN CONNECTION WITH: (A) THE
INABILITY TO USE THE SELLING PARTNER APIS OR THE API MATERIALS FOR ANY REASON; (B) THE
COST OF PROCUREMENT OF SUBSTITUTE GOODS OR SERVICES; OR (C) ANY INVESTMENTS,
EXPENDITURES, OR COMMITMENTS BY YOU IN CONNECTION WITH THIS AGREEMENT OR YOUR
USE OF OR ACCESS TO THE SELLING PARTNER APIS OR THE API MATERIALS.




                             Was this article helpful?          Yes       No




                                                                                                             Related articles


                                                                                                             Amazon Services Business
                                                                                                             Solutions Agreement

                                                                                                             Changes t o t he Amazon
                                                                                                             Services Business Solut ions
                                                                                                             Agreement

                                                                                                             Program Policies

                                                                                                             Changes t o program policies

                                                                                                             Important Notice for
                                                                                                             Int ernational Sellers
 FEEDBACK
         Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 29 of 76


                                                                 Intellectual Property for Rights
                                                                 Owners

                                                                 Guidelines for contacting
                                                                 Selling Part ner Support

                                                                 Securit y and Your Account

                                                                 Browsers and operat ing
                                                                 syst ems support ed f or Seller
                                                                 Cent ral

                                                                 Procedure for Submit t ing a
                                                                 Count er-Not ice Pursuant t o
                                                                 t he DMCA

                                                                 Video Content Policy

                                                                 Seller Best Practices

                                                                 Tax calculation services

                                                                 Tax inf ormat ion

                                                                 Policy violat ions

                                                                 The California eWaste Act

                                                                 About t he 2019 Novel Coronavirus
                                                                 (COVID-19)

                                                                 The "Urgent Help Needed"
                                                                 Opt ion



                                                                Need more help?


                                                                 Visit Seller Forums

                                                                 Cont act Seller Support




Get support   Program Policies   English                 © 1999-2020, Amazon.com, Inc. or it s affiliat es




 FEEDBACK
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 30 of 76




1 of 47                                                                                                                    9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 31 of 76




2 of 47                                                                                                                    9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 32 of 76




3 of 47                                                                                                                    9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 33 of 76




4 of 47                                                                                                                    9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 34 of 76




5 of 47                                                                                                                    9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 35 of 76




6 of 47                                                                                                                    9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 36 of 76




7 of 47                                                                                                                    9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 37 of 76




8 of 47                                                                                                                    9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 38 of 76




9 of 47                                                                                                                    9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 39 of 76




10 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 40 of 76




11 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 41 of 76




12 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 42 of 76




13 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 43 of 76




14 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 44 of 76




15 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 45 of 76




16 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 46 of 76




17 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 47 of 76




18 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 48 of 76




19 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 49 of 76




20 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 50 of 76




21 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 51 of 76




22 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 52 of 76




23 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 53 of 76




24 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 54 of 76




25 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 55 of 76




26 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 56 of 76




27 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 57 of 76




28 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 58 of 76




29 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 59 of 76




30 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 60 of 76




31 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 61 of 76




32 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 62 of 76




33 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 63 of 76




34 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 64 of 76




35 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 65 of 76




36 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 66 of 76




37 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 67 of 76




38 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 68 of 76




39 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 69 of 76




40 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 70 of 76




41 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 71 of 76




42 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 72 of 76




43 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 73 of 76




44 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 74 of 76




45 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 75 of 76




46 of 47                                                                                                                   9/2/2021, 6:52 PM
Amazon Services Business Solutions Agreement - Amazon Seller Central   https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US
                      Case 2:22-cv-01216-RSL-SKV Document 1-7 Filed 08/30/22 Page 76 of 76




47 of 47                                                                                                                   9/2/2021, 6:52 PM
